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DECLARTION OF TRES CLEVELAND
  IN SUPPORT OF DEFENDANT’S
      NOTICE OF REMOVAL
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION

  VC MACON, GA, LLC,

                    Plaintiff,

  v.

                                                        CASE NO.
 VIRGINIA COLLEGE, LLC;
 EDUCATION CORPORATION OF
 AMERICA,

                    Defendants.

                   DECLARATION OF TRES CLEVELAND IN SUPPORT OF
                         DEFENDANTS' NOTICE OF REMOVAL
           I, Tres Cleveland, declare:

       1. My name is Tres Cleveland. I am over the age of majority, competent to testify, and have

personal knowledge of the facts contained herein. The facts stated herein are true and correct, and

if called and sworn as a witness, I could and would competently testify thereto under oath. I make

this Declaration for any lawful use or purpose.

       2. I am currently an attorney at the law firm of Maynard Cooper & Gale, P.C., counsel for

Defendants Virginia College, LLC and Education Corporation of America.

       3. Attached as Exhibit 1 hereto is a true and correct copy of all the process, pleadings, notices,

and orders delivered to any party and filed in the state court action pending in in Bibb County

Superior Court, Georgia, styled VC Macon, GA, LLC v. Virginia College, LLC, et al., Civil Action

File No. 2018-cv-069412 (the "State Court Action").

       4. On October 15, 2018, I conducted an extensive search into the membership of the Plaintiff

in this case, VC Macon, GA, LLC ("VC Macon"). I conducted my search primarily through the




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Georgia and Mississippi Secretary of States' websites, but also through other databases, including

LexisNexis Advance, Westlaw PeopleMap, and Dun & Bradstreet.

    5. The available public records, including VC Macon's Annual Registration filed with the

Georgia Secretary of State, reveal that VC Macon is a limited liability company organized under

the laws of the State of Mississippi. Attached hereto as Exhibit 2 hereto is a true and correct copy

VC Macon's Annual Registration filed with the Georgia Secretary of State on August 14, 2018,

which I retrieved from the Georgia Secretary of State's website on October 16, 2018.

    6. The available public records, including VC Macon's Annual Report filed with the State of

Mississippi, indicate that the sole member of VC Macon is an individual by the name of J. Wilson

Lafoe. Attached hereto as Exhibit 3 hereto is a true and correct copy VC Macon's Annual Report

filed with the Mississippi Secretary of State on February 13, 2018, listing Mr. Lafoe as the only

"member" and manager" of VC Macon, which I retrieved from the Mississippi Secretary of State's

website on October 16, 2018.

    7. On October 17, 2018, I conducted a search for Mr. Lafoe through Westlaw PeopleMap.

The available public records, including Mississippi state voter registration records and motor

vehicle registration records, reveal that Mr. Lafoe resides at an address in Ridgeland, Mississippi.

Attached as Exhibit 4 hereto, and filed under seal in conformance with Local Rule 5.4, is a true

and correct copy of the voter registration and motor vehicle registration records for JOHN

WILSON LAFOE that I retrieved from Westlaw PeopleMap on October 17, 2018.

    8. After conducting a search of the relevant databases, I found no infon lation to suggest that

Mr. Lafoe has any connection with the States of Delaware or Alabama.




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         I declare under penalty of perjury under the laws of the State of Georgia and the laws of

the United States of America that the foregoing is true and correct


Dated: October t     , 2018



                                           By:
                                                 Tres Cleveland




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            EXHIBIT 1
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SERVICE INTENDED FOR:.



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                                                                                                                     Court     .    : 14•

           Date Filed       hr.4                                                                   •

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                                                                                                           Superior Co' .1
                                                                                                          -State Court. 0 I.J1J
                                                                                                           Georgiii-8W  NNETT   'COUNTY
                                                                                                                                          •.



           I t.°""TrA s                                                                                                           (4:                 M
                            -                                                                                                                                       Plaintiff
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                                                                                                                                             VS.
           . 4-4)artir                               3o3Li                                                 (/I iC: 14/11& (Alf
                                                                                                                                           LLC.- OF. di
           Name and A.ddreaa•of Party to be Served                           •       •2                         bi(64.    eptilx),:6,4-rtrig
                                                                                                                                         .      ja 14104-f,
           1 .11A1: 41,6             10612)(114i!61 151                      4;;-,                                                             Defendant
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                                                                                                                                                                 Gairiiihee


                                                                      SHERIFF'S ENTRY OF SERVICE



1     a-
            • I have this day served.the defendant
              of the within actionand summons, •


            • I have that day served.the defendant
                                                                                                                                                      personally with a copy



                                                                                                                                                                  by leaving
              a copy of theaction and summonSat hismost notorious•place of abode in. this County.
            Delivered same.into hinds of                                                                                                               .described as follows
            age. abOut          -_,Lyeare; weight, about               .pounds;.height; about •                       feet and.         .inches: domiciled at the•residenceof
            defendant.


                                                     • 1 ii.. .,     i 1
-5:     . Serried
             '    the defendant t; - •' ti % ••                /                                                                                             • a corporation
 i=      •
      0... by leavings copy ot the within' action and summons with •      i
           in charge of the officeand place of doing business of said Corporation in this County.


             I have this day served theabOve styled affidavit and summons on the defendant's) by posting a copy of the same to the door of the
             premises designated insaid affidavit, and on thiesame day of such posting by depositing a true copy ofurnsin theUnited States
      0    • Mail. Fiist Class In an envelope properlyaddressed to the defendants) at the address Shown insaid-summons. with adequate
             postagtialfixed thereon containing.notice to the defendant(s) to answer said surnmons-at the place-stated in -the summons:


  .         Diligent search made and defendant •
   0        not to be found in the jurisdiction of this Court.


                                                                                      1' •
      .. This                                   day Of                           •                                                              • •




                                                                                                                                         DEPUTY
           SHERIFFDOCKET                                   PAGE
                                                                                                                          GWINNETT COUNTY, GEORGIA . -
           WHITE: Clerk •       CANARY: •Plaineff Attorney •         • PINK:, Defendant                •   ••   ' I   :     '
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                                                                                           Bibb County Superior Cour
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                                                                                                          Raven Miter

                    IN THE SUPERIOR COURT OF BIBB COLINTY
                                STATE OF GEORGIA
VC MACON, GA, LLC,                   )
                                     )
     Plaintiff,.                     )
                                     )
v.                                   )     CIVIL ACTION 2018-CV-Q694.12
                                     )     FILE NO.
VIRGINIA COLLEGE, LLC and            ).
EDUCATION CORPORATION OF             )
AMERICA, jointly and severally,      )
                                     ).
     Defendants.                     )
                                         • SUMMONS
                                                                                               ••


TO THE ABOVE-NAMED DEFENDANTS: VIRGINIA COLLEGE, LLC and
EDUCATION.C- ORPORATION OF AMERICA
You, are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiffs attorney, whose name and address is:

                                •        Jon A. Gottlieb
                                     Flynn & Gottlieb,P.A.
                                    800 Johnson Ferry Road
                                        Atlanta, Georgia
                                        ionallawfilicom
         1.•




an answer to Plaintiff's Complaint which is herewith served upOn you, within            days after
service of this summons upon you, exclusiie of the day of service. If you fail to do so, judgment
by default will be taken against you for the relief demanded in'the complaint.
        10th      . • •
This               dayof October, 2018.

                                                 - Clerk of Superior Court

                                                     .-    •   /9/ Raven Alston
                                                    'By •
                                                          Deputy Clerk




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                                                                                               Mos L Woodford, Clerk
                                                                                           Bibb County Supsdor Court
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                                                                                                           Raven Alston

                            IN THE SUPERIOR COURT OF BIBB COUNTY

                                        STATE OF GEORGIA

 VC MACON, GA, LLC,                               )
                                                  )
             Plaintiff, •                         )
                                                  )
v.                                                )        CIVIL, ACTION
                                                           FILE NO.     2018-CV-069412
                                                  )
VIRGINIA COLLEGE, LLC and                         )
EDUCATION CORPORATION OF                          )
AMERICA, jointly and severally,                   )
                                                  )
             Defendants.                          )
                                           COMPLAINT

             COMES NOW VC Macon, GA, LLC ("plaintiff"), Plaintiff in the above captioned matter,

and files this Complaint and shows the Court as follows:

                                                      1.

             Defendant Virginia College, LLC ("Defendant VC") is an Alabama limited liability

company that is registered with the Georgia Secretary of State to conduct business in Georgia.

Defendant VC is subject to the jurisdiction and venue of this court. Defendant VC may be served

with process through its registered agent, National•Registered Agents, Inc., at 289 S. Culver Street,

Lawrenceville, Georgia 30046.

                                              •       2.

             Defendant Education Corporation of America f"Defendant ECA") is a Delaware

corporation and is suiiject to the jurisdiction and venue of this court. Defendant ECA may be served

with process through its registered agent, The Corporation Trust Company, at Corporation Trust

Center, 1209 Orange Street, Wilmington, Delaware 19801. Defendant VC and Defendant ECA are

hereinafter collectively the "Defendants."




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                                     BACKGROUND FACTS

                                                 3.

         On March 19, 2010, Plaintiff and Defendant VC entered into a lease agreement (the

'Operating Lease"), a true and correct copy of which is attached hereto as Exhibit "A" and made

a part hereof. The Operating Lease has not been amended.

                                                 4.

         On March 22, 2010, Plaintiff and Defendant VC entered into a lease agreement (the "Capex

Lease"), a true and correct copy of which is attached hereto as Exhibit "B" and made a part hereof.

The Capex Lease has not been amended.

                                                 5.

         Defendant ECA guaranteed both the Operating Lease and the Capex Lease (collectively

the "Leases") by written lease guaranty (collectiVely, the "Guaranty"). True and correct copies of

each Guaranty are attached as Exhibit D to the Operating Lease and Exhibit E to the Capex Lease.

                                                 6.

         By the terms of the Leases and the Guaranty, the parties agreed that venue for any action

commenced that relates to either the Leases or the Guaranty would lie in Bibb County, Georgia.

                                                 7.

        Defendant VC operates a for-profit college known as Virginia College. Tuition is paid to

Defendant VC by among things loans provided to students through the Office of Federal Student.

Aid offered through.the US federal government's Title IV program under the Higher Education

Act of 1965 (the "Tuition Loans").

                                                8.

        Defendant VC operates its Virginia College location in Macon, Georgia upon the property



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  covered.by•the Leases ("Macon VC").



            Macon VC is-a Title IV educational facility, meaning it is eligible for student aid.

                                                     i 0..

            Macon VC has received student aid from the federal government for the current eduCational

. period.

                                                    11.

            The Tuition Loans were paid directly to Defendant VC in advance for the entire educational'

  period.        •   .

                                                    12.

            Upon information and belief, Defendant VC has received all of its tuition from its students,.

  including tuition, paid for by the Tuition Loans, for the current educational period.

                                                    13.

            This tuition is designed to.. cover Defendant -VC's operating expenses and overhead

 including.among other operating expenses the mit .and other amounts due under the Leases.
                                     -•
                                              14.-      •

            In other words, Defendant VC has already received the funds necessary to pay Defendant

• ; VC* obligations under the Leases for the current educational period and pethapia greater period

  of time.

                                                    15.          •

            However, instead of paying the rent and other amounts due under the Leases; Defendant

 :VC has breached said Leases by, among other things, failing and refilling to pay monthly rental

  for September and October 2018 and informing.Plaintiff of the intent to vacate the premises and



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terminate all payments before the expiration of the tam of the Leases.

                                                  16.

        By virtue of Defendant VC's failure to adhere to the Leases; Defendants are indebted to

Plaintiff in the total amount of $179,204.41 for the months of September and October 2018,

together with the monthly rental rate of $82,600.79 thereafter until December 31, 2018 upon which

beginning on January 1, 2019, monthly rental increases to $83,357.91, plus late fees equal to 5%

of the delinquent rent payment, plus and accrued and future interest at the rate of 1.5% per month

until paid, plus reasonable attorney's fees, all as set forth in the Leases and Guaranty. As of October

11, 2018 an additional late fee equal to $4,130.04 shall be due.

                                                  17.     -

        Defendants have failed and refused to cure the said breach of Leases despite demand, a

true and correct copy of which is attached hereto as Exhibit "C" and made a part hereof

                                       .     COUNT ONE

                                           Breach of Contract

                                                  18;

        Plaintiff realleges, reasserts and incorporates by reference thereto all of the averments set

forth in paragraphs 1 through 17 as if fully restated below..

                                                  19.

        Defendants breached the Leases by failing to adhere to the terms thereof,

                                                  20.

        Defendants breached the Leases by failing to pay the amounts due thereunder.

                                                  21.

        Defendants further breathed the Leases. by notifying Plaintiff of Defendants' intent not to



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pay the amounts due under the Leases and of Defendants' intent to vacate the premises and

terminate payments due under the 'Leases prior to the expirations of the term of the Leases,. which

constitutes an anticipatory breach. A true and correct copy of Zvi Rhine's September 6, 2018 email

is attached hereto as Exhibit "D" and made apart hereof.

                                                   22.    .

         Plaintiff has not consented to any amendment of the Leases.

                                                   23.

         Plaintiff has not consented to an early termination of the Leases.

                                                   24.

         Plaintiff has not consented to any of the terms set forth in the email attached hereto as

Exhibit D.

                                                  25.

         Plaintiff has been damaged by Defendants' breach of the Leases.

                                                  26.

         Defendants are liable to Plaintiff for damages arising from the breach of said Leases.

                                                  27.

         Defendants are liable to Plaintiff for interest as set forth under the Leases.

                                                  28.

         Defendants are liable to Plaintiff for attorney's fees as set forth under the Leases.

                                                  29.

         Plaintiff now and again makes a new, demand for payment of this obligation sued upon,

with interest; and upon failure to pay same as provided by law within ten days from receipt of this

complaint, Plaintiff will claim the attorney's fees provided for said obligation.



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                                            COUNT TWO

                                              Conversion

                                                  30.

          Plaintiff realleges, reasserts and incorporates by reference thereto all of the averments set

forth in paragraphs 1 through 29 as if fully restated below.

                                                  31.

          Defendant VC and/or Defendant ECA has received tuition, including without limitation

proceeds from the Tuition Loans, for the current educational period

                                                  32.

          A portion of such tuition is intended for use by Defendants to pay the sums due under the

Leases.

                                                  33.

          Defendants have failed and refused to adhere to the terms of the Leases by failing to pay

the amounts due thereunder.

                                                  34.

          Defendants retaining •such tuition instead of paying the amounts due under the Leases

constitutes conversion.

                                                  35.

          Plaintiff has been damaged by Defendants' conversion-

                                                  36. •

          Defendants are liable to Plaintiff for the damages arising from. Defendants' conversion in

an amotnit to be determined by the jury.




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                                            COUNT THREE

                                           Unjust Enrichment

                                                  • 37.

            Plaintiff realleges, reasserts and incorporates by reference thereto all of the averments set

forth in paragraphs 1 through 36 as if fully restated below.

                                                    38.

           Alternatively, Defendants retaining such tuition instead of paying the amounts due under

the Leases constitutes unjust enrichment.

                                                    39.

         . Plaintiff has been damaged by Defendants' unjust enrichment.

                                                    40.

           Defendants are liable to Plaintiff for the damages arising from Defendants' unjust

enrichment in an amount to be determined by the jury.

                                             COUNT FOUR

                                                  Fraud

                                                    41.

           Plaintiff realleges,. reasserts and incorporates by reference thereto all of the averments set

forth in paragraphs 1 through 40 as if fully restated below.

                                                    42.   •

           As .an inducement to enter the Leases, Defendants represented to Plaintiff that tuition,

including without limitation the Tuition Loans, would be used to pay the amounts due under the

Leases.




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                                                43.

         Defendants accepted and received tuition with full knowledge that it includes sums due to

Plaintiff under the Leates.

                                                44.

         Instead of paying the sums due under the Leases, upon information and belief Defendants

have diverted the tuition .elsewhere.

                                                45.

         The representations made by Defendants to induce Plaintiff to enter the Leases were false.

                                                46.

         Such false representations were knowingly made to induce Plaintiff to enter the Leases and

allow Defendant VC to occupy the premises.

                                                47.

         Upon information and belief Defendants also knowingly made false representations to

induce the federal government to deliver the Tuition Loans to Defendant.

                                                48.

        At all times relevant hereto Defendants knew they were going to retain-the tuition instead

of paying the amounts due under the Leases.

                                                49.

        Upon information and belied Defendants have used some of the tuition to pay expenses or

other disbursements not related to Macon VC.

                                                50.

        Defendants have defrauded Plaintiff through such diversion of said tuition.




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                                                  .51.

        Defendants have defrauded the federal government by representing that tuition, including

without limitation the Tuition Loins, would be used to pay for Defendant VC's operating expenses,

including the amounts due under the Leases.

                                                   52.

        Plaintiff is a third-party beneficiary under the Tuition Loans.

                                                   53.

        Plaintiff has been damaged as the. result of such fraud.

                                        •        • 54. •

       'Defendants are liable to Plaintiff for such fraud in an amount to be determined by a jury.

                                            COUNT FIVE

                                        Constructive Trust

                                                   55. .

        Plaintiff realleges, reasserts and incorporates by reference thereto all of the averments Bet -

forth hiparagraphs 1 through 54 as if fully restated below.               f


                                                   56;

        If Defendants are allowed to retain the tuition and not pay the amounts due under the

Leases, Plaintiff will be irreparably harmed..

                                                   57.

     • The Court is authorized as a court of .equity to issue as cailiar•aBstaister compelling

Defendants to Bet aside and impose a constructive imdt for the benefit.of Plaintifffor such amounts

from the tuition to pay the amounts chte.under the Leases.




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                                             COUNT SIX

                           Attorney's Fees, Costs, Expenses and Interest

                                                  58.

          Plaintiffs restate and reassert the statements, averments and allegations contained in

paragraphs 1 through 57 of this Complaint as if fully restated hereinbelow.

                                                  59.

          Under Paragraph 29 of the Operating Lease and Paragraph 28 of the Capex Lease,'

Defendants are liable to Plaintiff for attorney's fees as provided under O.C.G.A. §§ 13-1-11:

                                                  60.

          The stance taken by Defendants epitomizes the kind of "so sue me attitude", stubborn

litigiousness and or causing of unnecessary trouble• and expense so as to give rise to liability to

Plaintiff for any and all actual/reasonable attorney's fees, costs and expenses incurred in

conjunction with the matters described herein pursuant to O.C.G.A. §§ 13-6-11 and 9-15-14.

                                                  61.

         Alternatively and or additionally, Defendants are liable to Plaintiff for any and all expenses

and attorney's fees incurred and resulting from Defendants' actions/inactions described herein

_pursuant to O.C.G.A. §§ 51-12-7 and car 13-11-8.

                                                  62.

         Defendants are liable to Plaintiff:1i for the maximum interest allowable by law and pursuant

to proper prior notice issued to Defendant in conjunction witt O.C.G.A. §§ 13-11-7 and or 51-12-

14. See also O.C.G.A. §§ 13-6-13, 7-4-2, 7-4-14, 7-4-15 and or 7-4-16.




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                                           COUNT SEVEN

                                           Punitive Damages

                                                   63.

          Plaintiffs restate and reassert the statements, averments and allegations contained in

paragraphs 1 through 62 of this Complaint as if fully restated hereinbelow.

                                                   64.

          The actions of Defendants show willful misconduct, malice, fraud, wantonness,

oppression, or that entire want of care which would raise the presuinption of conscious indifference

to the consequences such that the Plaintiff is entitled to punitive damages to punish, penalize and

deter Defendants from committing these acts in the future.

                                                   65.

          Alternatively; the peace, happiness, or feelings of Plaintiff have been damaged to the extent

prescribed by the enlightened consciences of impartial jurors.

          WHEREFORE, Plaintiff demands judgment against Defendants as follows:

         (a)     For judgment in the amount of $179,204.41 plus late fees and interest under

                 Count One;

         (b)     For additional judgment in the amount of $82,600.79 per month until December 31,

                 2018 and beginning on January 1, 2019, in the amount of $83,357.91 plus late fees

                 and interest under Count One;

         (c)     For additional judgment in the amount of $4,130.04 under Count One;

         (d)     For judgment arising from Defendants' conversion in an amount to be determined

                . by a jury under Count Two;

         (e)     For judgment arising from Defendants' unjust enrichment in an, amount to be



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                 determined by a jury under Count Three;

           (f)   For judgment arising from Defendants' fraud in an amount to be determined by a

                 jury under Count Four;

           (g)   For an order instanter imposing a constructive trust upon the tuition received by

                 Defendants for such amounts from the tuition to pay the amounts due under the

                 Leases under Count Five;

          (h)    For judgment in favor of Plaintiff for interest, costs, expenses and attomey's fees

                 under Count Six;

          (i)"   For judgment in favor of Plaintiff for punitive damages in an amount to be

                 determined by a jury under Count Seven; and

          (g)    For such other and further relief as this Court deems just and proper.

      PLAINTIFF REQUESTS A TRIAL BY JURY ON THOSE ISSUES SO TRIABLE.

                                          -    Respectfully submitted,

                                               FLYNN & GOTTLIEB, P.A.


                                                /s/ Jon A. Gottlieb

                                               Jon A. Gottlieb, Esq.
                                               Georgia Bar No. 303060
                                               Attorneys for Plaintiff VC Macon, GA, LLC


800 Johnson Ferry Road
Atlanta, Georgia 303042-1417
Tel (404) 497-8000
Fax (404) 497-8009
jong@lavifg.cora




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                                          LEASE AGREEMENT
THIS LEASE AGREEMENT (this "Agreement") is made and entered into on the latest date
shown by the signatures of the parties hereto (the 'Effective Date") by and between VC Macon,
GA, LLC, a Mississippi limited liability company, or its successors and assigns ("Landlord") and
Virginia College, LLC, an Alabama limited liability company ("T        ")..

1.        Leased Premises.

(a)               In consideration of the rents, terms, provisions and covenants of this Agreement,
                  Landlord hereby leases, lets and demises to Tenant and Tenant hereby takes, the
                  following described Leased Premises (the "Premises" or "Leased Premises")
                  comprised of certain land, buildings and related improvements located at 1901
                  Paul Walsh Drive in Macon, Bibb County, Georgia, including all appurtenances,
                  libenses, easements, entitlements and permits related thereto. The Leased
                  Premises are more particularly described in exhibit "A," attached hereto and
                  incorporated herein by reference. The Leased Premises contains 48,410 usable
                  square feet of improved space in a portion of a building of approximately 102,098
                  usable square feet (the "Bi ling'') located on approximately 18.25 acres of land.
                  The remaining 53,688 usable square feet of improved space in said Building is
                  also being leased concurrently herewith by Tenant from Landlord and is referred
                  to herein as the "Surplus Premises".

(b)               This Agreement is contingent upon Landlord's ownership and control of the
                  Leased Premises.
                                      •
2.        Term.

(a)       The term of this Agreement (as such term may be extended pursuant to subsection 2(e)
          below, the "Term") shall be a period of fifteen (15) years commencing on the earlier to
          occur of the following events (hereinafter, the "Commencement Date"):

                  (i)    The date that Tenant shall open for business operations in the Premises; or

                  (ti)   The date that is forty-five (45) days after the later to occur of (a) the
                         delivery of the Premises for Tenant's exclusive possession; (b) the
                         Substantial Completion (as defined in Section 7(h) below) of the Project
                         Improvements (as defined .below), as certified by Tenant's project
                         manager; and (c) the date of the delivery of a.certificate of occupancy (the
                         "Delivery Date").      .

(b)               The term "Leese Year" as used herein shall mean each successive full calendar
                  year of this Agreement, beginning with the calendar year 2011. The partial year
                  from the Commencement Date until January 1, 2011 and the partial year from the
                  end of the final full Lease Year to the Expiration Date (defined below) hereof
                  shall be Considered partial Lease Years.

(c)               The Term shall end and this Agreement expire on the last day of the fifteenth •


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                (15th) full Lease Year, subject to Tenant's renewal option(s) as provided in
                subsection 2(e) below (the "expiration Date").

(d)             Within thirty (30) days of the Commencement Date, and without any further
                request Tenant and Landlord shall acknowledge the Delivery Date, • the
                Commencement Date, and the Term by executing a document entitled the
                "Commencement Date Addendum" which form is attached as Exhibit "B". By
                executing the Commencement Date Addendum, Tenant is accepting possession of
                the Leased Premises and reconfirming the terms and conditions of this
                Agreement.

(e)             Provided Tenant is not in default at the time Tenant delivers a renewal notice to
                Landlord after giving effect to applicable grace, notice and cure periods, Tenant
                shall have two (2) options to renew for a term of five (5) yeari for each option,
                upon all the terms, covenants, and conditions set forth in this Agreement. To elect
                such options, Tenant must give Landlord written notice to renew no less than six
                (6) months prior to the expiration of the then-current Term. After the exercise of a
                renewal option, all references to the Term of this Agreement shall be deemed to
                mean the Term, as extended pursuant to this Section.

3.       Minimum Rent and Additional Rent.

(a)            Tenant agrees to pay to the Landlord net minimum rent for the Leased Premises
               (the "Minimum Rent") in equal monthly installments in advance not later than the
               fifth (5th) day of each month of the Term; in the first full Lease Yon' and any prior
               Partial Lease Year, Tenant shall deliver the monthly Minimum Rent installment of
               $48,247.78 (calculated upon an initial annual Minimum Rent equal to Five
               Hundred Seventy-Eight Thousand Nine Hundred Seventy-Three and 40/100
               Dollars ($578,973.40). Any partial months during the Term shall be prorated on a
               per diem basis.

(b)            Beginning with the second (2") full Lease Year and for each successive Lease
               Year until the end of the Tenn, the annual Minimum Rent shall increase by one
               percent (1%) per annum over the previous year's Minimum Rent.

(c)            Except for the Minimum Rent,• any payment of funds or sums due Landlord that
               are required under this Agreement shall be defined as Additional Rent (the
               "Additional Rent").

(d)            All Minimum Rent and Additional Rent payable under this Agreement is payable
               during the Term, commencing on the Commencement Date, and shall be paid and .
               delivered to the Landlord at the place designated by the Landlord for notices
               under this Agreement, or such other place as it may subsequently designate in
               writing.

4.       Late Charge.

Other remedies for nonpayment of rent notwithstanding, if the Minimum Rent or Additional


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Rent payment is not received by Landlord on, or before five (5), days after the due date of the
month for which rent is late, a charge of five percent (5%) of Tenant's delinquent rent payment
shall be assessed to Tenant ("Late Fee"). Such Late Fee shall be immediately due and payable in
addition to the Minimum Rent or Additional Rent, if any, owed by Tenant under the terms of this
Agreement. The provision for such late charge shall be in addition to all of Landlord's other
rights and remedies hereunder or at law shall not be construed as liquidated, damages or as
limiting Landlord's remedies in any manner. Landlord's receipt of a partial payment 'of
Minimum Rent or Additional Rent shall not operate as a waiver or release of any outstanding
sum due hereunder.

5.        Usage.

(a)                The Leased Premises shall be used as a business that provides retraining and
                   educational services and for such other lawful purposes as may be incidental
                   thereto (including a cosmetology salon and therapeutic massage facility); or, with
                   the written consent of Landlord and any third party lender whose loan is secured,
                   in whole or in part, by the Leased Premises, any other lawful purpose permitted
                   under the Covenants (defined below) and applicable zoning To the best of
                   Landlord's knowledge upon review of the Covenants, no consent of the adjacent
                   shopping center owners or tenants is required as a condition to Tenant's proposed
                   use of the Leased Premises. Tenant shall at its own- cost and expense obtain the
                   necessary licenses and permits necessary for any Such use.

(b)                On or before the Effective Date, Landlord shall provide Tenant with: (i) its most
                   recent title insurance commitment covering the Leased Premises, (ii) a copy of
                   Landlord's most recent survey of the Leased Premises, and (iii) the instruments
                   and other documents described in Fxhibit "C" attached hereto (collectively, the
                   "Covenants"). All construction, improvements, modifications, occupancy, use and
                   operations of the Leased Premises and the surrounding parking and access areas
                   are subject to the Covenants and applicable zoning and building ordinances..

6.        Signage.

(a)                Tenant shall have the right to the maximum building signage available under local
                   law and specifically, to the maximum signage permitted by law and the Covenants
                   or other restrictions that apply to the Leased Premises. Tenant shall at its expense
                   also have the right to maximum signage on any and all pylon or monument
                   signage now existing or that may become available or constructed by Tenint on
                   the Leased Premises that is permitted by law and the Covenants .at any time
                   during the Term. To the extent allowed by law, Tenant 'shall have the right to
                   operate its business and install signage under any of its authorized trade names
                 • including, but not limited to, Virginia College. Landlord makes no representation
                   or warranty regarding the availability or permission to use •any of Tenant's trade
                   names within the State of Georgia.

(b)                During the final six (6) months of the 'Berm hereof Or. any extension or renewal
                   thereof Landlord shall have the. right to post a "For Rent". sipi and to show the


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               Leased Premises at reasonable hours to prospective tenants.

7.      Project Plans, Improvements and Budget

        (a). Tenant shall, at its cost, be responsible for the design of the improvements to the
Premises needed to meet Tenant requirements and specifications ("Project Plans"). Tenant shall
deliver the Project Plans by (already delivered) ("Project Plans Delivery Due Date") and the
Project Plans shall be subject to Landlord's approval, which may not be unreasonably withheld.
If the Tenant does not deliver the draft Project Plans by such date, then all Landlord's
construction deadlines within this Agreement shall be adjusted by the number of days that Tenant
misses such deadline. If Landlord does not respond to any draft Project Plans within ten (10)
days, the proposed Project Plans shall be deemed approved.

        (b)    Prior to commencement of construction of the improvements in accordance with
the Project Plans (the "Project Improvements") and upon Landlord's receipt of the final Project
Plans, Landlord shall obtain firm bids for the Project Improvements as reflected on the Project
Plans (the "Bidded Costs"). If the firm bids for the Bidded Costs are higher than Two Million
Nine Hundred Four Thousand and 00/100 Dollars ($2,904,600.00) (the 'Project Budget"), then
Tenant shall, within fourteen (14) days, make adjustments to the Project Plans to bring the
Bidded Costs within the Project Budget. If the Tenant does not deliver the revised Project Plans
within fourteen (14) days, then all Landlord's construction deadlines within this Agreement shall.
be adjusted by the numbei of days that Tenant misses such deadline. If the Bidded Costs are
within the Project Budget, then the Project Improvements and Projected Budget are deemed as
accepted by Tenant

       (c)      Tenant shall obtain the consent of the appropriate governmental agencies
necessary to begin the Project Improvements. Landlord will cooperate with Tenant, to the extent
that such c' ooperation does not cause any material extra expense to Landlord, in obtaining the
necessary consents to begin the Project Improvements and shall furnish all reasonable
information with respect to the Leased Premises that is necessary for Tenant to efficiently and
expeditiously. prepare the preliminary and final plans and specifications for the Project
Improvements.

        (d)    Following the consent of the appropriate governmental agencies necessary to
begin the Project Improvements, Landlord covenants to immediately commence construction of
the Project Improvements to the Leased Premises (the date of such commencement is herein
referred to as the "Construction Commencement Date") and shall diligently pursue the timely
completion of such improvements.

       (e)     Landlord agrees that it will commence construction of the Project Improvements
on a date not later than April 5, 2010 ("Project Improvements Commencement Deadline") or as
amended by.the mutual agreement of Landlord and Tenant in writing. Within five (5) days of
Landlord's commencement of the Project Improvements, Landlord shall provide Tenant with
written notice of the commencement of the Project Improvement ("Notice of Commencement").
Notwithstanding any provision of this Agreement to the contrary, if for any reason, Landlord
cannot commence construction of the Project Improvements by the Project Improvements
Commencement Deadline, either Tenant, provided that Tenant is not in. default of any of the


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terms and conditions hereof beyond applicable notice and cure periods, or Landlord may
terminate this Agreement upon written notice to the other party hereunder within thirty (30) days
after the Project Improvements Commencement Deadline.

        (f)     Tenant shall have the right to change the Project Plans through change orders
("Change Orders"). Upon commencement of construction on the Project Improvements, the
amount by which the actual cost of constructing the Project Improvements exceeds the Project
Budget, to the extent that such excess is caused by or on behalf . of Tenant, Change Orders,
changes to the Project Improvements necessary to comply with applicable laws, codes and
ordinances, if any, or otherwise by any changes to the Project Plans that are not the result of the
acts, decisions or omissions of Landlord, shall be paid in full by the Tenant as Additional Rent
within seven (7) days of the Commencement Date.

        (g)   Tenant covenants not to cause a delay in the construction of the Project
Improvements. Tenant covenants to immediately respond upon actual receipt of a written request
or telephone call to all questions, inquiries, clarifications and requests for information about the
Project Improvements so that the general contractor can Substantially Complete the Project
Improvements on or before the date set forth in Section 7(j), below. Tenant further covenants to
cause the project architect to timely fulfill its obligations under their agreement. Tenant
acknowledges that this Section 7(g) is a material inducement to Landlord to enter into this
Agreement.

        (b)     In the event Landlord determines that the progress of the Project Improvements is
being slowed or delayed because of the project architect, Tenant shall immediately upon request
by Landlord cause the agreement with the project architect to be terminated. In the event of such
termination Tenant shall immediately pay to such project architect any license fee in order to
permit Landlord to use the Project Plans to- complete the Project Improvements. Upon such
termination Landlord may, but shall not be obligated to, hire a replacement architect, at Tenant's
expense. Any costs associated with the transfer of the architect's duties from the terminated
architect to the replacement architect 'shall be the sole responsibility of Tenant Tenant further
agrees that any agreement with the project architect shall include provisions (1) allowing Tenant
to reassign its rights in the Project Plans to Landlord to complete, operate, and maintain the
Project Improvements, without charge to Landlord, (2) allowing Landlord, its successors or
transferees to keep and use such Project Plans for maintenance, repairs, additions, or demolition,
and (3) permitting Landlord or any successor-in-title to disclose such Project Plans to a
prospective buyer, transferee, lender, or tenant of Landlord.             All costs or expense
reimbursements payable by Tenant to Landlord or a replacement architect in connection with a
replacement architect who is hired pursuant to this subsection shall be paid in full by Tenant as
Additional Rent within seven (7) days of the Commencement Date.

       (i)      It is expressly understood by Landlord that Tenant shall not be liable for any
increase in Construction Costs resulting from a Force Majeure and that all such costs shall be the
responsibility of the Landlord.

      (j)    Landlord's construction contract with its .general contractor for the Project
Improvements shall requite the general contractor to Substantially Complete the Project
Improvements on or before August 19, 2010, subject to commercially standard extension terms.


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 Landlord shall deliver the Premises after Substantially Completing the Project Improvements in
 accordance with the Project Plans. In connection with Project Improvements, "Substantial
 Completion" and/or "Substantially Complete" shall mean that the Project Improvements set forth
 in the Project Plans are completed (specifically, the electrical and mechanical systems have been
 completely installed and are fully functioning and operable; all utilities have been permanently
hooked up, permanently and separately metered and service is established; the toilet facilities are
completed; the fire and theft protection systems have been completely installed, are functioning,
and are capable of being monitored) and a permanent certificate of occupancy has been issued by
applicable governmental authorities (in such form and substance as typically provided by the
applicable authority). Further, Substantial Completion anticipates that the work performed by
Landlord shall be in conformity with the Final Plans and shall be subject only to Punch List
Items (as defined below). "Punch List Items" means any minor items of the Project
Improvements remaining that would in no way restrict Tenant from commencing any and all of
its "pre-opening activities," including by way of example, but not limitation: moving in
furniture; interviewing prospective employees and students; setting up offices; and opening in
the Premises for business. Landlord shall complete any and all Punch List Items within twenty
(20) days of written notice thereof from Tenant.

        (k)    The parties acknowledge that the Project Budget is being used in the calculation
of the Minimum Rent due hereunder. If any portion of the Project Budget is not used by
Landlord for the construction of the Project Improvements in accordance with the Project Plans,
for any reason whatsoever, then the unpaid portion of the Project Budget may be offset against
the Minimum Rent payable hereunder; provided however, the amount of such monthly offset
shall not exceed the amount that would amortize the unused portion of the Project Budget over
the remainder of the initial 15 year term of this Agreement at the rate of eight percent (8%) per
annum. Landlord shall cause the general contractor to issue any construction warranties jointly
in the names of Landlord and Tenant, with the understanding that Landlord may but shall not be
obligated to pursue enforcement of any such warranty, although Landlord agrees •to cooperate
with Tenant in the enforcement of such warranties, as necessary. Landlord shall automatically be
released from its construction obligations under this Section 7 upon completion of the Project
Improvements (including all Punch List Items) and the issuance of any construction warranties
by the general contractor in the name of Tenant (or jointly in the names of Landlord and Tenant).
Following such release, Landlord shall have no liability for any Premises defects.

        (1)     Alter the Commencement Date, Tenant shall not make or allow to be made any
structural alterations, additions, improvements and/or upgrades in or to the Leased Premises or
alterations that impact the exterior of or systems serving the Leased Premises without first
providing Landlord copies of the plans and specifications for those improvements and obtaining
the written consent of Landlord to proceed with those improvements. Tenant may not alter or
modify any Common Area (as defined in the Covenants) including, without limitation, all
parking areas, absent Landlord's consent. Any alterations, additions, improvements and/or
upgrades to the Leased Premises made by Landlord or Tenant (excluding satellite and/or wireless
communications equipment installed by Manant on,.and removed without damage to, the roof and
Tenant's trade fixtures, equipment or other personal property) shall at once become the property
of Landlord and shall be surrendered to Landlord upon the termination of this Agreement.

         (m)    Absent Landlord's express prior consent Tenant shall have no authority, express


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 or implied, to allow or permit any claim, lien or encumbrance of any kind or nature whatsoever
upon, or in any manner to bind, the interest of Landlord in the Leased Premises or Tenant's
leasehold interest arising hereunder or to charge or assign the rentals payable hereunder for any
claim, debt or obligation in favor of any other party dealing with Tenant, including without
limitation those who may furnish materials or perform labor for any construction or repairs.
Tenant may not create any loan, indebtedness or obligation that is secured with its leasehold
interest arising hereunder. Tenant covenants and agrees that it will immediately pay or cause to
be paid all sums legally due and payable by it on account of any debt, obligation, promise,
agreement, labor performed or materials furnished in connection with any work performed on the
Leased Premises which may result in a claim or lien asserted against its, leasehold interest in the
Leased Premises or the improvements thereon and that it hereby indemnifies, holds harmless and
agrees to defend Landlord from any and all claims, debts, obligations, losses, costs or expenses,
including without limitation attorney's fees, based on or arising out of threatened or asserted
claims or liens against the leasehold estate or against the right, title and interest of the Landlord
in the Leased Premises or otherwise in contravention of this Agreement
        (n)    If Tenant causes any construction or improvements to the Premises after the
Commencement Date, Tenant shall immediately pay all contractors, subcontractors, suppliers,
laborers and materialmen, so as to prevent the possibility of a lien attaching to the Leased
Premises, and should any such claim or lien be threatened, made or filed, Tenant shall
immediately contest same or bond against or discharge the same within thirty (30) days of
written notice of such lien. Tenant shall immediately notify Landlord of all such claims or liens
Tenant shall diligently pursue any such contest, and upon failure to prevail in such contest, shall
fully discharge such lien at its sole cost and expense immediately upon Landlord's request.
Notwithstanding the foregoing, Tenant herein shall not have any authority to create any
mechanics' or materialmen's liens on the Landlord's interest in the Leased Premises.
        (o)      Notwithstanding any provision of this Agreement to the contrary, Tenant shall
have the right to install a satellite dish or other transmission or reception device on the roof of the
Leased Premises if necessary for its business operations provided that Tenant shall seek prior
approval from Landlord which approval shall not be unreasonably withheld. In the event Tenant
exercises its right to install such a satellite dish or device, Tenant shall ensure that said
installation is in compliance with all applicable restrictions, codes, regulations, laws, ordinances
and statutes. Tenant shall be solely responsible for obtaining all required permits and the
maintenance of such equipment, and any repairs to the roof required by reason of said equipment
and its installation or removal

8.       Utilities, Covenant Costs, Taxes, Insurance and Additional Rent.

Beginning on the Commencement Date, Tenant shall be responsible for the following;
(a)           Tenant shall pay all expenses related to all utilities serving- the Leased Premises
              including, but not limited to, water, sewer, 'gas and electricity 'petered to the
              Leased Premises, and for all charges for telephone service.

(b)             Additionally, if the Leased Premises is subject to the payment of any costs under
                the Covenants, including without limitation, Common Area (as defined in the
                Covenants) lighting security and maintenance costs and the shared expense fee


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                                                        •'
                payable in connection with the road through the adjacent shopping center (the
                "Covenant Costs"), Tenant shall timely pay such Covenant Costs directly to the
                third party entitled to such payment. Landlord reserves the right to forward a
                copy of any Covenant Costs invoice or statement directly to Tenant In any event,
                Tenant shall pay such Covenant Costs on or before the due date thereof.

                Tenant shall pay before delinquency all taxes, assessments, license fees, and other
                charges that are levied and assessed on Tenant's personal property, alterations, and
                trade fixtures.

(d)              Tenant shall pay Landlord all taxes and government charges and assessments
                 including without limitation all real estate ad valorem taxes, all personal property
                 taxes, sales tax on rents, governmental and public charges and special
                assessments, if any, for each year imposed against the Leased Premises. If any
                governmental authority having jurisdiction now or hereafter imposes upon
                Landlord, pursuant to statute, ordinance, regulation, order or otherwise, a tax,
                 levy, or other imposition based upon the rentals received by Landlord under the
                terms of this Agreement, Tenant shall, upon demand, pay to Landlord as
                Additional Rent the amount thereof at the time the rental payments fall due with
                respect to .the term of this Agreement. The tax, levy, or imposition to which
                reference is made in this Section shall include sales, excise, ad valorem, personal
                property .or similar taxes, but shall not include rollback, charge back or other
                assessment relating to any period prior to the Term of this Agreement or
                subsequent expiration of the Term of this Agreement, capital stock, estate,
                inheritance, income or franchise taxes imposed upon Landlord. Tenant shall pay
                Landlord, in advance, per month on the first (Is) day of each month as Additional
                Rent one-twelfth (1/12th) of the current annual real estate ad valorem tax
                assessment, sales tax on rent, personal property taxes, governmental and public
                charges and special assessments or imposition. If the current assessments or
                impositions have not been fixed for . the applicable year, then those of the
                preceding tax year shall be used as an estimate for the payments due on the first
                day of each month. All additional funds required for any difference between the
                estimated payments and the actual payments shall be paid to Landlord as
                Additional Rent within fifteen (15) days following Landlord's request and any
                excess shall be reftinded within fifteen (15) days or credited against the
                subsequent month's(s') Minimum Rent. At its own cost and expense, Tenant may
                contest the amount or validity, in whole or in part, of any assessment or
                imposition or seek a reduction in the assessed valuation of the Leased Premises by
                appropriate proceedings diligently conducted in good faith. 'Ibnant shall first
                consult with Landlord and obtain its consent before contesting any assessment or
                charge. Tenant shall promptly pay any contested assessment or imposition unless
                the proceeding prevents or stays its collection and Thnant deposits with Landlord
                the amount contested and unpaid, together with a sum to cover all charges that
                may be assessed against the Leased Premises in such proceeding. Upon final
                determination of any such proceeding, Tenant shall deliver to Landlord proof of
                the amount of such assessment or imposition as filially determined. Landlord
                shall not suffer or sustain any costs or expenses (including, but not limited to,


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                attorneys' fees) or any liabilities in connection with such proceeding. Landlord
                shall then pay such assessment or imposition, including interest, fees, penalties,
                and other liabilities awarded therein out of the sum so deposited with it by Tenant
                and refund any balance to Tenant If sums deposited with Landlord are
                insufficient to pay the full amount of such assessment or imposition and other
                charges; Tenant shall immediately pay any, deficiency. If during such proceeding
                Landlord in good faith deems the sums deposited with it insufficient, Tenant shall,
                upon demand, deposit with Landlord such additional sums that Landlord may
                reasonably request Landlord, at Tenant's cost and expense, shall join in any such
                proceedings required by law. Furthermore, Landlord may contest the amount or
                validity, in whole or part, of any such assessment or imposition or seek a
                reduction in the assessed valuation of the Leased Premises; provided, however,
                any expenses of same shall be reimbursed to Landlord by Tenant only to the
                extent of actual savings realized by Tenant

(e)             Landlord covenants not to make any changes, additions or alterations to the
                Leased Premises or surrounding common areas without first obtaining Tenant's
                written consent. Landlord shall not enter into any covenants, easements or other
                agreements that prohibit or restrict Tenant's proposed use of the Leased Premises
                or otherwise change the terms of this Agreement, including the costs incurred by
                Tenant hereunder, without Tenant's prior written consent, which may be withheld
                in Tenant's reasonable discretion. Notwithstanding, Landlord may make such
                alterations required or imposed by law, ordinance or the Covenants, or fft the
                event of an emergency in order to protect Landlord's interest in the Leased
                Premises.

(f)             All charges and costs arising under this Section 8 shall be deemed Additional
                Rent. Tenant hereby agrees to indemnify►, hold harmleis and defend Landlord of
                and from any charges, liens, loss, damages, expenses, costs or claims including,
                without limitation, reasonable attorney's fees arising out of Tenant's obligations
                under this Section 8.

9.       Repairs and Maintenance.

Beginning on the Commencement Date, Tenant shall be responsible for the following
(a)           Tenant shall, at its sole cost and expense keep the entire Leased Premises and the
              real estate upon which the Leased Premises are situated, including, but not limited
              to, the roof, exterior walls, windows, window glass, plate glass, doors, partitions,
              fixtures, equipment and appurtenances thereto (including lighting, heating and
              plumbing fixtures, and air conditioning systems), foundations, grounds, drives
              and parking area in good repair and condition, normal wear and tear and damages
              caused by casualty (except to the extent that Tenant is obligated to restore such
              damage in accordance with the terms of this Agreement) excepted, and Tenant
              shall immediately • make all maintenance and/or repairs thereto which may be
              necessary. Moreover, Tenant shall, at its •sole cost and expense, immediately
             .repair or replace any damage or injury to all or any part of the Leased Premises.
              Tenant shall immediately notify Landlord of any damages to the Leased Premises.

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               Tenant shall be provided with all the benefits of all third party construction and
               equipment warranties, bonds and guaranties for this purpose. Tenant shall not be
               entitled to any abatement or reduction of Minimum or Additional Rent, by reason
               of any maintenance, repairs, alterations or additions made under the terms of this
               Agreement. Landlord shall repair all damage caused by .the gross negligence or
               willful misconduct of Landlord or Landlord's . agents, members, officers,
               employees, contractors, sublessees, invitees, or licensees.

(b)            Tenant shall not commit or allow any waste or damage to be committed on any
               portion of the Leased Premises, and at the termination of this AgreeMent, by lapse
               of time or otherwise, Tenant shall deliver the Leased Premises to Landlord in a
               condition at least as good as the condition the Leased Premises were in after •
               completion of all Project Improvements, normal wear and tear, damages caused
               by casualty (except to the extent that Tenant is obligated to restore such damage in
               accordance with the terms of this Agreement) and approved alterations excepted.
               Except as provided in Section 13, the cost and expense of any maintenance and/or
               repairs necessary to restore the condition of the Leased Premises as provided in
               this paragraph shall be borne by Tenant.

(c)            Maintenance and repairs required to be made by Tenant, if not otherwise
               undertaken by Tenant without notice from Landlord, shall be completed not more
               than thirty (30) days (and such reasonably longer period of time in the event
               repairs cannot be completed within said 30 day period for reasons beyond
               Tenant's control) from and after receipt by Tenant of written notice from Landlord
               of the necessity to make such maintenance or repairs. If Tenant refuses or
               neglects to maintain or repair as required hereunder to the reasonable satisfaction
               of Landlord, Landlord may but shall not be required to make such repairs without.
               liability to Tenant for any loss, injury or damage that may accrue to Tenant's
               merchandise, equipment, inventory, fixtures or other property or to Tenant's
               business by reason thereof; and upon completion thereof Tenant shall pay
               Landlord's cost for making such repairs, plug ten percent (10%) for overhead,
               immediately upon presentation of a bill therefor, as Additional Rent.

10.     Casualty Insurance; Public Liability Insurance.

Beginning on the Commencement Date, Tenant shall be responsible for the following:

(a)            Tenant will maintain and pay all insurance premiums for Special Form Property
               Insurance covering all structures and improvements on the Leased Premises, the
               Surplus Premises and .all personal property owned by Tenant, with coverage for
               perils as set forth on the Causes of Loss-Special Form' or its equivalent, with a
               coverage extension for the perils of flood and earthquake, in an amount equal to
               full replacement cost of such structures and improvements, and in any no event,
               no less than the full replacement value or $7,500,000, whichever is greater,
                      arty                 Such Property Insurance shall contain an agreed
               valuation  provision  in lieu of any co-insurance clause, an increased cost of
               construction endorsement, changes in laws and ordinances endorsement, debris


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                removal coverage, a waiver of subrogation endorsement in favor of Landlord and
                shall name the Landlord as loss payee.

(b)            Tenant agrees to carry at all times during the term of.this Agreement, at its sole
               cost and expense, for the benefit of Landlord and Tenant, general public liability
               insurance against claims for bodily injury, death or property damage occurring
               upon, in or. about the Leased Premises, with combined single limits of not less
               than Two Million and No/100 dollars ($2,000,000.00) per occurrence for bodily
               injury or property damage, and Five Million and No/100 dollars ($5,000,000.00)
               in• the aggregate..Tenant shall cause Landlord to be designated as an additional
               insured on such general public liability insurance policy.

(c)            Tenant shall at all times during the term of this Agreement, at its sole cost and
               expense, maintain a policy or. policies of business income insurance at a level
               sufficient to pay the Minimum Rent and Additional Rent herein provided. In the
               event the Leased Premises are destroyed, whether totally or partially, Tenant
               nevertheless shall remain bound by the terms and provisions of this Agreement
               unless this Agreement is terminated in accordance with the terms hereof.

(d)              Tenant shall not • be allowed possession of the Leased Premises. absent the
                 insurance policies required by this Section 10. Each policy of insurance, or a
                 certificate thereof, shall be promptly deposited with Landlord and shall provide
                 for thirty (30) days advance written notice to the Landlord prior to cancellation or
                 change. Each policy of insurance or certificate shall be accompanied by a waiver
                 of subrogation endorsement in favor of Landlord. Each policy of insurance .or
                 certificate shall be accompanied by evidence of the paymentnf premiums therefor
                 in a form reasonably satisfactory to Landlord. If Tenant fails to furnish Landlord
              - with such policy or policies of insurance or such certificates prior to occupancy of
                 the Leased Premises, or at any time thereafter, Landlord may cause such
                 insurance to be issued and charged to the account of Tenant; provided that nothing •
                 herein shall be interpreted as requiring Landlord to secure such insurance. All
               • insurance shall be with companies licensed to do business in the state where the
                 Leased Premises is located, or to be located, and the form of the policies .or
                 certificates shall be subject to Landlord's approval, which approval shall not be
                 unreasonably withheld.

11.     Casualty and Restoration.

Begirming on the Commencement Date, Tenant shall be responsible for the following;
(a)           If the Leased Premises should be damaged by fire, the elements, unavoidable
              accident or other casualty to the extent that the Leased Premises are rendered
              inaccessible for business purposes or totally or partially unusable by Tenant in• the
              ordinary course of Tenant's business, Tenant shall immediately, but no later than
              ten (10) of such casualty, provide, notice to Landlord of such casualty. Within.
              thirty (30) days following such casualty, Tenant shall notify Landlord of the
              amount of time 'Itnant estimates it will take to repair such damage ("Tenant's


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                  Estimate"). As long as Landlord and Landlord's mortgagee provide Tenant with
                  adequate (as determined by Tenant in Tenant's reasonable discretion) assurances
                  that insurance proceeds are available to Tenant, Tenant shall, to extent that such
                  insurance proceeds are made' available to Tenant, repair the same and this
                  Agreement shall remain in full force and effect with no reduction of the Minimum
                  Rent and Additional Rent.

(b)              Notwithstanding anything herein contained to the contrary, if the loss is expected
                 to render the Leased Primises totally inaccessible or unusable by Tenant in the
                 ordinary conduct of Tenant's business for more than six (6) months, then Tenant
                 may terminate this Agreement by written notice to- the Lender and shall assign
                 any insurance claims'relating to the improvements located on the Leased Premises
                 and the Project ImProvements to Landlord.

12.        Compliance with Laws, Rules and Regulations.

Tenant shall, at Tenant's sole .cost and expense, comply with all of the requirements of all
county, municipal, state, federal and other applicable governmental authorities, now in force,
pertaining to Tenant's use and occupancy of the Leased Premises, and shall faithfully observe in
the use of the Leased Premises all municipal and county ordinances and state and federal statutes
now in force or which may hereafter be in force.

13.        Condemnation.

(a)              If the Leased Premises are taken under the power of eminent domain or sold
                 under the threat of the exercise of such power to the. extent that it substantially
                 impairs Tenant's use of the Leased Premises (as determined by Tenant in its
                 reasonable discretion) (the "Condemnation', this Agreement shall be terminated
                 on the date when-the Leased Premises shall be so taken, and the rent shall be
                 prorated as of that date. Such termination shall be without prejudice to the rights
                 of either party to recover compensation from the condemning authority for any
                 loss or damage caused by the Condenination. Neither party shall have any rights
                 in or to any award made to the other by the condemning authority. Each party
                 expressly covenants and agrees not to assert a claim to any portion of an award in
                 favor of the other. This covenant shall survive the termination of this Agreement.

(b)              If Tenant's use of the Leased Premises is not substantially impaired by
                 Condemnation as determined above and only a portion of the Leased Premises is
                 taken by such action then this. Agreement shall terminate only as to the part so
                 taken as of the date the condemning authority takes' title or possession. This'
                 Agreenient shall remain in full force and effect as to the portion of the remaining.
                 Leased Premises except that Minimum Rent shall be apportioned as of the date of
                 vesting of title and Tenant shall be entitled to a pro rata reduction in the Minimum
                 Rent payable hereunder based on the portion that the value of the space taken
                 bears to value of the Leased Premises immediately prior to such taking.

(c)              In either such event, the entire compensation award for the leasehold and


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                 reversion shall belong to Landlord without deduction for any present or future
                 estate of Tenant, and Tenant hereby assigns to Landlord all of its right, title and
                 interest to such award. Tenant shall execute all required documents to evidence
                 such result 'Dmiant shall, however, be entitled to claim, prove and receive 'in the
                 condemnation proceedings any award allowed for loss of business, goodwill,
                 fixtures and or other equipment installed by it, but only if and to the extent such
                award is in addition to the award for the land, building and other improvements
                (or portions thereof), containing the Leased Premises. If this Agreement is not
                terminated, as herein provided, Landlord shall, to the extent of severance damages
                received by it in connection with such condemnation, promptly repair any
                damages to the Leased Premises caused by such condemnation, except to the
                extent. that Tenant has been . reimbursed therefor by the condemning authority.
                Tenant acknowledges that any portion of a condemnation award that is
                designated, awarded or paid for repairs shall belong to and immediately be
                delivered to Landlord. Tenant covenants to immediately notify Landlord if the
                Landlord's portion of the condemnation award is paid to Tenant and. Tenant
                covenants to immediately pay to Landlord any such amount. If Landlord fails to
                provide adequate assurances to Tenant within ten (10) days of the conclusion of
                the condemnation proceeding that all amounts necessary to repair any damages to
                the Leased Premises caused by such condemnation are readily available to
                Landlord and will be promptly utilized for such repair, then Tenant may terminate
                this Agreement by thirty (30) days prior written notice to Landlord.

14.      Time is of the Essence.
Time is of the essence under this Agreement

15.      Hold Harmless.

 Landlord shall not be liable to Tenant or Tenant's owners, officers, managers, employees, agents,
.servants, licensees, visitors, guests and/or business invitees, or to any other person, for any injury
 to person or damage to property on or about the Leased Premises for any reason whatsoever,
 except for injury or damages caused by the gross negligence or willful misconduct of Landlord
 or its agents or contractors. Tenant agrees to indemnify, hold harmless and defend Landlord of
 and from any loss, expenses or claims including,' without limitation, reasonable attorney's fees
 arising out of any such damage or injury arising as a result of Tenant's (or Tenant's owners,
 officers, managers► employees, agents, servants, licensees, visitors, guests and/or business
 invitees) acts at, or use or occupancy of the Leased Premises.
16:     Landlord's Lien.

(a)     In addition to any statutory landlord's lien, Landlord shall have, at all times, a valid
        security interest to secure payment of all rents and other sums of money becoming due
        hereunder from Tenant, and to secure payment of any damages or loss which Landlord
        may suffer by reason of the breach by Tenant of any covenant, agreement, or condition
        contained herein, upon the Project Improvements. Such property shall not be removed
        therefrom without the consent of Landlord until all arrearages in rent as well as any and


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          all other sums of money then due to Landlord hereunder shall first have been paid and
          discharged and all of the covenants, agreements and conditions hereof have been fully
          complied with and performed by Tenant. Tenant hereby grants Landlord the right to file
          a uniform commercial code financing- statement(s) and fixture filing(s)
                                                                                g(s) to perfect such
          security interest and any renewals.. Upon the occurrence of an event of default by Tenant,
          Landlord may, in addition to any other remedies provided herein, enter upon the Leased
          Premises and take possession of any portion of the Project Improvements, without
          liability for trespass or conversion, and sell the same at public or private sale, with or
          without having such property at the sale, after giving Tenant reasonable notice 'of the time
          and place of any public sale or of the time after which any private sale is to be made, at
         which sale the Landlord or its assigns may purchase unless otherwise prohibited by law.
         Unless otherwise provided by law, and without intending to exclude any other manner of
         giving Tenant reasonable notice, the requirement of reasonable notice shall be met if such
         notice is given in the manner prescribed in this Agreement at least five (5) days before
         the time of sale. Any sale made pursuant to the provision of this Paragraph shall be
         deemed to have been a public sale conducted in a commercially reasonable manner if
         held in the Leased Premises or where such property is located after notice of the time,
         place and method of sale and a general description of the types of property to be sold has
         been published in a local daily newspaper at least one time before the date of the sale.
         The proceeds from any such disposition, less any and all expenses connected with the
         taking of possession, holding and selling of any portion of the Project Improvements
         (including reasonable attorney's fees and legal expenses) shall be applied as a credit
         against the indebtedness secured by the security interest granted in this Paragraph. Any
         surplus shall be paid to Tenant or as otherwise required by law. Tenant shall pay any
         deficiencies forthwith. Any statutory lien against any portion of the Project
         Improvements for rent is not hereby waived, the security intermit herein granted against
         any portiOn of the Project Improvements being in addition and supplementary thereto.
(b)      Within twenty (20) days after request therefore, Landlord agrees to execute a lien waiver
         on Tenant's lender's written form with respect to the personal property of Tenant located
         at the Leased Premises, including but not limited to Tenant's inventory, business
         equipment and proceeds therefrom, whether now owned or hereafter acquired, which lien
         waiver form shall subject to the reasonable comments of Landlord.
17.      Landlord's Warranties and Covenants.

Landlord represents and warrants to and covenants with Tenant that

(a)      Subject to the Purchase & Sale Agreement between DDR Southeast Macon, L.L.C., a
         Delaware limited liability company (the "Selma) and the Landlord, Landlord will
         acquire the Leased Premises in fee simple prior to the Construction Commencement
         Date. There are no agreements, restrictive covenants or exclusive or prohibited use
         provisions, other than the Covenants, to which Landlord is a party or affecting the Leased
         Premises that in any way prohibit or restrict • Tenant's proposed use of the Leased
         Premises as a retraining and educational facility;

(b)      There are no agreements, restrictive covenants or exclusive or prohibited use provisions


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         . contained in the leases of any other tenants of the Property, other than the Covenants, to
           which Landlord is a party or affecting the Leased Premises that in any way prohibit or
           restrict Tenant's proposed use of the Leased Premises as an educational facility; and

(c)      Landlord will join Tenant in any enforcement of any third party obligation under the
         Covenants, at Tenant's cost and expense.

(d)      Landlord has delivered or will deliver within twenty (20) days following the Effective
         Date, Landlord's Phase I Report (the "Phase       rl
                                                        addressed to Tenant.

18.      Quiet Enjoyment.

Landlord warrants that it has full right to execute and to perform this Agreement and to grant the
estate leased, and, that Tenant, upon payment of the required rents and performing the terms,
conditions; covenants and agreements contained in this Agreement, shall peaceably and quietly
have, hold and enjoy the Leased Premises during the full term of this Agreement as well as any
extension or renewal without let or hindrance by Landlord or its agents; provided, however, that
Tenant accepts this Agreement subject and subordinate to the Covenants.

19.      Hazardous Materials.

(a)             Landlord makes no representation regarding Hazardous Materials affecting the
                Leased Premises. Landlord shall have performed a Phase I study and if required a
                Phase II study which shall be jointly certified to Landlord and Tenant.

(b)             Neither Tenant, its successors or assigns, nor any permitted assignee, permitted
                sublessee or other person acting at the direction of Tenant shall: (a) manufacture,
                treat, use, store or dispose of any Hazardous Materials (as hereinafter defined) on
                the Leased Premises or any part thereof in violation of any applicable
                Environmental Laws; or (b) knowingly permit the release of a Hazardous Material
                from within the Leased Premises or any part thereof.

(c)             In the event of a release of Hazardous Material by Tenant or any of Tenant's •
                agents, members, officer, employees, contractors, invitees, licensees or
                sublessees, Tenant shall indemnify, protect, defend and hold Landlord harmless
                from and against any and all costs, fees, dimages, losses, expenses and/or
                liabilities of any kind or nature in any way related to the release, removal,
                transportation and/or disposal of such Hazardous Materials, which obligation shall
                survive the expiration or earlier termination of this Agreement. If any action or
                proceeding be brought against Landlord by reason of such claim, Tenant upon
                notice from Landlord shall defend the same at Tenant's expense by counsel
                reasonably satisfactory to Landlord. In the event Landlord incurs any costs, fees,
                damages, losses, expenses, and/or liabilities in connection with a release of
                Hazardous Materials by Tenant or any of Tenant's agents, members, officer,
                employees, contractors, invitees, licensees or sublessees; Tenant shall pay such
                costs, fees, and/or expenses within ten (10) days of written request from Landlord.
                Landlord shall not incur any fees or costs before notifying Tenant that it is likely


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                to incur such fees and costs unless Tenant takes corrective action. •

(d)              In the event of a release of Hazardous Material by Landlord or any of Landlord's
                agents, members, officer, employees, contractors, invitees, licensees or sublessees
                or if the presence of any Hazardous Material in or around the Leased Premises is
                identified in the Phase I, Landlord shall indemnify, protect, defend and hold
                Tenant harmless from and against any and all costs, fees, damages, losses,
                expenses and/or liabilities of any kind or nature in any way related to the release,
                removal, transportation and/or disposal of such Hazardous Materials, which
                obligation shall survive the expiration or earlier termination of this Agreement. If
                any action or proceeding be brought against Tenant by reason of such .claim,
                Landlord upon notice from Tenant shall defend the same at Landlord's expense.
                In the event Tenant incurs any costs, fees, damages, losses, expenses, and/or
                liabilities in connection with a release of Hazardous Materials by Landlord or any'
                of Landlord's agents, members, officer, employees, contractors, invitees, licensees
                or sublessees, Landlord shall pay such reasonable and direct costs, fees, and/or
                expenses within ten (10) days of written request from Tenant. Tenant shall not
                incur any fees or costs before notifying Landlord that it is likely to incur such fees
                and costs unless Landlord takes corrective action.

(e)             Landlord and Tenant acknowledge and agree that Tenant is not assuming any
                liability or responsibility for Hazardous Materials located on the Leased Premises
                through no fault of Tenant or any of Tenant's agents, members, officer,
                employees, contractors, invitees, licensees or sublessees and that Tenant is not an
                "owner" or "operator" of the Leased Premises with respect to such conditions. If
                any Hazardous Materials are present on or under the Leased Premises through no
                fault of Tenant or any of Tenant's agents, members, officer, employees,
                contractors, invitees, licensees or sublessees, and such Hazardous Materials
                present a substantial threat to human health or safety and such condition remains
                unremedied for a period of six (6) months after written notice from 'Thnant to
                Landlord, then Tenant May terminate this Agreement upon written notice to
                Landlord.

(f)             The term "Hazardous Materials" shall mean any waste, substance or material that
                is: (i) identified in Section 101(14) of— the Comprehensive Environmental
                Response, Compensation and Liability Act of 1980, as the same may be amended
                from time to time (herein called "CERCLA"); or (ii) determined to be hazardous,
                toxic, a pollutant or contaminant; under federal, state or local law, including, but
                not limited to, petroleum and petroleum products. The term "release" shall have
                the meaning given to such term in Section 101(22) of CERCLA

20.      Landlord's Right of Entry.

Without releasing Tenant from any of its obligations hereunder, Landlord shall have the right to
enter the Leased Premises for the following: inspection; cleaning or making repairs if Tenant
fails to comply with its obligations in that regard; alterations or additions as Landlord may deem
necessary or desirable if Tenant fails to comply with its obligations in that regard; determining


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Tenant's use of the Leased Premises; or determining if an act of default under this Agreement
has occurred. Landlord may also show the Leased Premises to prospective lenders, purchasers,
or prospective tenants, all in a rummer so as to interfere as little as reasonably possible with the
business of Tenant.

21.       Assignment, Sale or Sublease.

 Landlord shall have the unrestricted right to sell, transfer and assign, in whole or in part, or
 otherwise dispose of its rights and obligations in the building and property that are the subject of
 this Agreement. Upon such sale, transfer or assignment, Landlord shall be keleased from the
 terms and conditions. of this Agreement and Tenant shall look to such assignee or transferee to
 satisfy the landlord's obligations under this Agreement; provided, however, Landlord shall not
be released from its obligations arising out of the construction of the Project Improvements, until
 such obligations are fulfilled in accordance with the terms of this Agreement. Tenant shall have
 the unrestricted right to sublet; in whole or in part, the portion of the Premises that are not
 initially used as a Virginia College facility. Tenant, however, shall not assign this Agreement
without the prior written consent of Landlord. Notwithstanding any provision of this Agreement
 to the contrary, Tenant may assign or sublease the Leased Premises without Landlord's consent
to a corporation controlling, controlled by, or under common control with, Tenant, to the
surviving corporation in a merger or other corpOra.te reorganization in which Tenant is involved,
or to a purchaser of all or substantially all of the assets of Tenant (collectively "Tenant
Affiliate"); provided that all of the following conditions are satisfied (a "Permitted Transfer"):
(a) Tenant is not then in default under this Agreement after giving effect to applicable notice
grace and cure periods; (b) Tenant's successor shall own all or substantially all of the assets of
Tenant; and (c) Tenant's successor shall have a net worth which is at least equal to the greater of
Tenant's net worth at the Effective Date. Upon request by Landlord, Tenant - shall provide
Landlord with information 'and documentation showing that each of the above conditions has
been satisfied. In the event of such an assignment or sublease to a Tenant Affiliate, Tenant shall
remain liable and responsible of all obligations under this Agreement unless' expressly released
in writing by Landlord. A public offering, issuance, transfer or distribution of Tenant's stock
(including distributions pursuant to an employee benefit program), in any amount, shall not
constitute an assignment for the purposes of this Agreement. Except. for an assignment or
sublease to a Tenant Affiliate in accordance with this Section, Tenant shall at all times remain
liable for the payment of Minimum Rent and Additional Rent herein and for compliance with all
of its other obligations under this Agreement. Upon the occurrence of an "event of default" as
defined herein, if all of any part of the Leased Premises are then assigned or sublet, Landlord, in
addition to any other remedies provided by. this Agreement or provided by law, may at its option,
collect directly from the assignee or subtenant, and/or the Tenant, both of said parties being
jointly and severally bound, all rents. becoming due to Tenant by reason of the assignment or
sublease, and Landlord shall have a security interest in the Project Improvements on the Leased
Premises to secure payment of such sums. Any collection directly by Landlord from the
assignee or subtenant shall not be construed to constitute a novation or a release of Tenant froth-
the further performance of its obligations under this Agreement

22.      Holding Over.

In the event of holding over by Tenant after the expiration or termination of this Agreement, the


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  hold over shall be as a tenant at will on a day to day basis and all of the terms and provisions of
  this Agreement, not otherwise in conflict with such status, shall be applicable during that period;
  except that Tenant shall pay Landlord as rental for the period of such hold over ati amount equal
  to one hundred fifty percent (150%) times. the rent which would have been payable by Tenant
  had the hold over period been a part of the original Term. Tenant agrees to vacate and deliver
  the Leased Premises to Landlord immediately upon expiration or termination of the Term in a
  condition at least as good as the condition of the Leased Premises were in on the Commencement
  Date, normal wear and tear, damages caused by casualty (except to the extent that Tenant is
. obligated to restore such damage in accordance with the terms of this Agreement) and approved
  alterations excepted. The rental payable during the hold over period shall be payable to Landlord
  on demand. No holding over by Tenant, whether with or without consent of Landlord, shall
  operate to extend this Agreement

23.       Default by Tenant.

The following events shill be deemed to be an "event of default" by Tenant under the terms of
this Agreement:

(a)              Tenant shall fail to pay any installment of the Minimum Rent, Additional Rent or
                 any other monetary payment required under this Agreement to be paid to or on
                 behalf of Landlord or any other person or entity hereby reserved when due, and
                 such failure shall continue for a period of five (5) days or;

(b)              Tenant or any Guarantor shall become insolvent, or shall make a transfer in fraud
                 of creditors or,

(c)             Tenant or any Guarantor shall file a petition under any section or chapter of the
                United States Bankruptcy Act, as amended, or under any similar law or statute of
                the United States or any State thereof; or Tenant shall be adjudged bankrupt or
                insolvent in proceedings filed against Tenant thereunder or;

(d)             A receiver or trustee shall be appointed for all or substantially all of the assets of
                Tenant or any Guarantor;

(e)             Tenant shall desert or vacate any substantial portion of the Leased Premises or
                permit a lien (including, but not limited to, a construction lien or a material men's
                lien) to be filed or recorded against such Leased Premises, which lien shall not
                have been bonded or removed or canceled within the time herein specified or;

(f)              Tenant shall fail to cure any monetary default within ten (10) days after written
                 notice thereof to Tenant, or fail to cure any non-monetary default within thirty
                 (30) days after written notice thereof to Tenant; provided, however, that Landlord
                 shall not be required to provide Tenant with more than two (2) default notices •
                 during any consecutive twelve (12) month period and provided further than
                •during the final twelve (12) months of the Term, Landlord shall be required to
                 provide Tenant with more than one (1) default notice.

24.      Remedies for Tenant's Default


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Upon the occurrence of any of the events of default set forth herein, and following any
applicable notice, Landlord shall have the option to pursue any one or more of the following
remedies:

(a)            Terminate this Agreement, in which event Tenant shall immediately surrender the
               Leased Premises to Landlord in a condition at least as good as the condition the
               Leased Premises were in after completion of all Project Improvements, normal
               wear and tear, damages caused by casualty (except to the extent that Tenant is
               obligated to restore such damage in accordance with the terms of this Agreement)
               and approved alterations excepted, and if Tenant fails to do so, Landlord may,
               without prejudice to any other remedy which it may have for possession or
               arrearages in rent, enter upon and take possession of the Leased Premises and
               expel or remove Tenant and any other person who may be occupying such Leased
               Premises or any part thereof, by force if necessary, without being liable for
               prosecution of any claim of damages therefor. Landlord may sell or relet the
               Leased Premises and the amount Landlord receives (less any and all costs
               Landlord incurs in such disposition, including, but not limited to, reasonable
               overhead, employee and officer compensatipn, lease commissions and any costs
               of improvements to the Leased Premises) shall be considered a mitigation of the
               damages of Landlord hereunder;       .

(b)            Enter upon and take possession of the Leased Promiges and expel or remove
               Tenant and any other person who may be occupying such Leased Premises or any
               part thereof: by force if necessary, without being liable for prosecution or any
               claim for damages therefor, and relet the Leased Premises and receive the rent
               therefor, and Tenant agrees to pay to the Landlord on demand any deficiency that
               may arise by reason of such reletting and all expenses' of reletting as it accrues
               (the "Accnied Deficiencies"). The amount Landlord receives (less any and all
               costs Landlord incurs in such reletting, including, but not limited to,. lease
               commissions and any cost of improvements to the Premises) shall be considered a
               mitigation of the damages of Landlord hereunder. In the event that Tenant shall
               fail to pay to Landlord any portion of the Accrued Deficiencies within ten (10)
               days of Landlord's demand (provided, however, Landlord shall not be required to
               provide such demand more than two (2) occasions during any twelve (12) month
               period during the term of this Agreement), Landlord may elect to receive as
               damages the sum of (a).all amounts accrued through the date of the termination of
               Tenant's possessory rights, and (b) an amount equal to the total Minimum Rent
               that Tenant would have been required to pay for the remainder of the then-current
               term of this Agreement (excluding unexercised renewal options) discounted to
               present value at the Treasury yield closest approximating the time reniaining in
               the balance of the term of this Agreement, minus the then present fair rental value
               of the Leased Premises for the remainder of such term, similarly discounted, after
               deducting all anticipated costs of reletting. Upon payment of such damages, this
               Agreement shall terminate;

(c)            Enter upon the Leased Premises without being liable for prosecution or any claim
               for damages thereof and do whatever Tenant is obligated to do under the terms of


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                this Agreement; and Tenant agrees to reimburse Landlord on demand for any
                expenses which Landlord may incur in thus 'effecting compliance with Tenant's
                obligations under this Agreement, and Tenant further agrees that Landlord shall
                not be liable for any damages resulting to the Tenant from such action, whether
                Caused by the negligence of Landlord or otherwise; and/or;

 (d)            Immediately secure the Leased Premises to protect the subject of the Landlord's
                security interests. It is expressly understood that this action shall not terminate
                this Agreement and Tenant shall have the right to possession of the Leased
                Premises once the event(s) of default are cured to the satisfaction of Landlord.
                Tenant further agrees that Landlord shall not be liable for any damages to Tenant
                resulting from Landlord's action.

(e)             Pursuit of any of the foregoing remedies shall not preclude pursuit of any of the
               other remedies herein provided or any other remedies provided by law, nor shall
               pursuit of any remedy herein provided constitute a forfeiture or waiver of any rent
               due to Landlord hereunder or of any damages accruing to Landlord by reason of
               the violation of any of the terms, provisions and covenants herein contained. No
               waiver by Landlord of any violation or breach of any of the terms, provisions and
               covenants herein contained shall be deemed or construed to constitute a waiver of
               any other violation or breach of any, of the terms, provisions and covenants herein
               contained. Landlord's acceptance of. the payment of rental or other payments
               hereunder after the occurrence of an event of default shall not be construed as a
               waiver of such default, unleis Landlord so notifies Tenant in writing.
               Forbearance by Landlord to enforce one or more of the remedies herein provided
               upon an event of default shall not be deemed or construed to constitute a waiver
               of such default If, on account of any breach or default by Tenant in Tenant's
               obligations under the terms and conditions of this Agreement, it shall become
               necessary or appropriate for Landlord to employ or consult with an attorney
               concerning or to enforce or defend any of Landlord's rights or remedies
               hereunder, Tenant agrees to pay reasonable attorneys' fees. No act or thing done
               by the Landlord or, its -agents during the term hereby granted shall be deemed an
               acceptance of the surrender of the Leased Premises, and no agreement to accept a
               surrender of said Leased Premises shall be valid unless in writing signed by
               Landlord. The receipt by Landlord of rent with knowledge of the breach of any
               covenant or other provision contained in this Agreement shall riot be deemed or
               construed to constitute a waiver of any other violation or breach of any of the
               terms, provisions and covenants contained herein.

Notwithstanding anything herein to the contrary, Landlord shall have a duty to mitigate its
damages•

25.      Landlord's Default

 If Landlord should fail to perform as required under this Agreement, Tenant shall give Landlord •
-written notice of the alleged default and Landlord shall have thirty (30) days to cure the default;
 provided, if a cure of a non-monetary default cannot be completed with said 30-day period


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 Landlord shall not be deemed in default so long as Landlord promptly commences and diligently
 pursues such cure within said 30-day period. If the default does not inhibit Tenant from
 immediately operating its business and Landlord fails to cure the default within thirty (30) days,
 Landlord shall have the right to extend the cure period if Landlord is diligently attempting to
 cure the default. No default that does not substantially inhibit Tenant's right and ability to
 operate its business shall be grounds for the termination of this Agreenient. Tenant shall have all
 remedies available at law and equity, together with those expressly provided herein, together
 with the right to cure such default and Offset the cost of such cure against Minimum Rent. Upon
 Landlord's default in its obligation to pay (or credit) money, said amount shall bear interest
 beginning five (5) days after the date due at the rate per annum of twelve percent (12%).

 26.       Intentionally Omitted.

 27.       Force Majeure.

  Whenever a period of time is herein prescribed for action to be taken by either party to this
  Agreement, the party charged with such obligation shall not be liable or responsible for, and
  there shall be excluded from the computation for any such period of time, any delays due to
  strikes, riots, acts of God, shortages of labor materials, war, terrorist acti, governmental laws,
  regulations, or restrictions, or any other causes of any kind whatsoever which are beyond the
  control of such party (collectively, "Force Majeure"). Except for impact that Section 2(aXii)
  above has on the establishment of the Commencement Date, Force Majeure shall not serve to
. extend any payment obligations of Tenant hereunder.

 28.       Interest on Amounts Owed.

 In addition to the Late Fee, and not in lieu thereof, all amounts owed by -Tenant under this
 Agreement not paid when due shall accrue interest at one and one-half percent (1% •%) per
 month, or the highest rate allowed by law, whichever is lower.

 29.      Attorney's Fees.

 In the event either party hereto defaults in the performance of any of the terms, covenants,
 agreements or conditions contained in this Agreement, and the other party places the
 enforcement of all or any part of this Agreement, the collection of any rent due or to become due
 or recovery of the possession of the Leased Premises in the hands of an attorney, such defaulting
 party agrees to pay the other party's negotiable attorneys' fees for the services of such attorneys,
 whether suit is actually filed or not.

 30.      Estoppel Certificate.

  Upon taking occupancy, and from time to time as requested by either party, the other party shall,
• upon ten (10) days' notice, issue its estoppel letter certifying any matters reasonably requested
  by the other party and that there are no known defaults by either party or, if there are defaults,
  specifying the defaults and the action necessary to cure. In the event Tenant has filed bankruptcy
  or other debtor protection proceeding and while such proceeding is pending. Tenant hereby
  appoints Landlord its attorney-in-fact during such period to execute and deliver an estoppel in
  favor of Landlord's lender, which appointment constitutes a power coupled with , an interest,

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irrevocable daring the term of this Agreement.

31.       Offset Statement, Subordination and Attornment.

a.                 Within ten (10) days after request therefor by Landlord, or in the event that upon
                   any sale, assignment.or hypothecation of the Leased Premises by Landlord an
                   offset statement (a/k/a an estoppel certificate) shall be required from Tenant,
                   Tenant agrees to and shall deliver in recordable form a certificate or estoppel to
                   any proposed mortgagee or purchaser or to Landlord, certifying .(if such be the
                   case) that this Agreement is in full force and effect and that there are no defenses
                   or offsets thereto, or stating those claimed by Tenant. In the event Tenant has
                   filed bankruptcy or other debtor protection proceeding and while such proceeding
                   is pending, Tenant hereby appoints Landlord its attorney-in-fact during such
                   period to execute and deliver such statement in favor of Landlord's lender, which
                   appointment constitutes a power coupled with an interest, irrevocable during the
                   term of this Agreement.

b.                 Within ten (10) days after request therefore by Landlord, Tenant agrees to and
                   shall execute a reasonable subordination, non-disturbance and attomment
                   agreement ("SNDA"), which shall contain a.. provision that, in the event any
                   proceedings are brought for the foreclosure     or in the event of exercise of the
                   power of sale under any mortgage made by Landlord covering the Leksed
                   Premises, Tenant shall attorn to the purchaser upon any such foreclosure or sale
                   and recognize such purchaser as Landlord under this Agreement The SNDA shall
                   contain Landlord's lender's standard non-disturbance language and any other
                   reasonable terms required by such lender or any purchaser of the Leased Premises
                   or such purchaser's lender. Any SNDA shall be subject to Tenant's reasonable
                   comments and shall acknowledge Tenant's rights under this. Agreement (including
                   Tenant's offset rights herein) as long as Tenant is not in default Until the
                   execution of the SNDA, any such mortgage shall remain subordinate to this
                   Agreement.

32.      Successors.        '

This Agreement shall be binding and inure to the benefit of Landlord and Tenant and their
respective heirs, personal representatives, successors, subtenants and assigns. It is hereby
covenanted and agreed that should Landlord's interest in the Leaied Premises cease to exist for
any reason during the terms of the Agreement, then (subject to the terms of the SNDA in the
event of a foreclosure), this Agreement nevertheless shall remain unimpaired and in full force
and effect and Tenant hereunder agrees to attorn to the then owner of the Leased Premises.

33.      Notice.

a.              All payments required to be made by Tenant to Landlord shall be payable to
                Landlord at the address Set forth below, or.at any other address within the United
                States as Landlord may specify from time to time by written notice. All payments
                of any kind, including without limitation Minimum Rent, Additional Rent, late


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                  charges and any other amounts, must be received by Landlord at such address on
                  or before the time specified for payment of such amounts.

 b.               Any notice or document required or permitted to be delivered by this Agreement
                  shall be deemed to be delivered when deposited in the United States Mail, postige
                  prepaid, certified mail, return receipt requested, overnight courier, or when sent
                  by facsimile, provided delivery is mechanically confirmed, addressed to the
                  parties at the respective addresses set forth below and actually received at such
                  addresses.

                     Landlord:                                            Tenant:.
  599 Highland Colony Parkway, Suite 120                 Virginia College, LLC
  Ridgeland, Mississippi 39157                           3660 Grandview Parkajay, Suite 300
  ATTN: Messrs. J. Wilson La Foe & J. F. Davis           Birmingham, Alabama 35243
  E-mail: jwlafoe@aOl.com                                Attn: General Counsel's. Office-Roger
          jfdavis.dl@comcast.net                               Swartzwelder and Ben DeGweck
  FAX: (601) 605-0648                                    FAX: (205) 329-7857

  With copy to:                                          With copy to:

   Jon A. Gottlieb, Esquire                              Stephen W. Stallcup, Esq.
   FLYNN & GOULIEB, P.A.                                 Maynard, Cooper & Gale, P.C.
 . 800 Johnson Ferry Road, N.E.                          1901 Sixth Avenue North
. Atlanta, Georgia 30342-1417                            2400 Regions/Harbert Plaza
   E-mail: jong@lawfg.com                                Birmingham, AL 35203
   FAX: (404).845-0888                                   FAX: (205) 254-1999


 34.      Interpretation and Venue.

 This Agreement shall be construed under and governed by the laws of the state in which the
 Leased Premises are located. All headings preceding the text of the several provisions are
 inserted solely for convenience of reference and none of them shall constitute a part of this
 Agreement or affect its meaning, interpretation or effect. Venue for any action brought by
 Landlord and Tenant in relation to this Agreement shall be in the County and judicial district oar
 division in which the Leased Premises are located.

35.       Reports.

 Tenant covenants and agrees to turn over to Landlord upon request all plans, specifications,
 engineering drawings, surveys, information, inspections, tests, audits, studies, reports, title
 commitments and materials compiled or accumulated by Tenant in connection with the Leased
 Premises. This covenant shall survive the termination of this Agreement

36.       Lease Guaranty.

Education Corporation of America, a Delaware corporation (the Tasignig"), for value received


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and in consideration of and as an inducement to Landlord entering into this Agreement with
Tenant, said inducement hereby acknowledged by Tenant, hereby absolutely and unconditionally.
guarantees the timely satisfaction by said Tenant of all payment and performance obligations
under this Agreement as fully as if the Guarantor was directly liable as Tenant hereunder. On or
before the Effective Date Guarantor shall execute Lease Guaranty attached hereto as Exhibit
n2L'. This is a guaranty of payment and performance and not a guaranty of collection. Nothing
herein shall require Landlord to pursue and exhaust its remedies . and Tenant or the Leased
Premises as a condition to exercising its remedies against Guarantor under this.Section 36.

37.       Waiver.

The waiver by Landlord of any breach of any term,' covenant or condition herein contained shall
not be deemed tote a waiver of such term, covenant or condition. The subsequent acceptance of
rent hereunder by Landlord shall not be deemed to be a waiver of any preceding breach by
Tenant of any term, covenant or condition of this Agreement other than the failure by Tenant to
pay the particular rent so, accepted, regardless of Landlord's knowledge of such preceding breach
at the time of acceptance of such rent No Covenant, term or conditions of this Agreement shall
be deemed to have been waived by Landlord, unless such waiver shall be in writing by Landlord.

38.      Accord and Satisfaction.

No payment by.Tetant or receipt by Landlord of a lesser amount than the rent herein stipulated
shall be deemed to be other than on account of the earliest stipulated rent; nor shall any
endorsement or statement on any check or any letter accompanying any check or payment as rent
be deemed to 'be an' accord and satisfaction, and Landlord may accept such check or payment
without prejudice to Landlord's right to recover the balance of such rent or pursue any other
remedy in this Agreement provided. •

39.      Entire Agreement; Construction.

a.              This Agreement and the exhibits and addenda, if any, attached hereto and forming
                a part hereof; set forth all the covenants, promises, agreements, conditions and.
                underLandings between Landlord and Tenant concerning the Leased Premises,
                and there are no covenants, promises, agreements, conditions or understandings,
                either oral or written, between them other than as are herein set forth. Except as
                herein otherwise provided, no subsequent alteration, amendment, change or
                addition to- this Agreement shall be binding upon Landlord' or Tenant unless
                reduced to writing and signed by.them.

b.              Each of the parties hereto materially participated in the drafting of this Agreement
                and, therefore, in the construction of any of the provisions hereo4, such provisions
                shall not be construed more harshly against one or the other.

40.     .No Partnership.

Landlord does not, in any way or for any purpose, become a partner of Tenant in the conduct of
its business, or otherwise, ot a joint venturer or a member of a joint enterprise with Tenant.
Provisions of this Agreement relating to the Additional Rent payable hereunder are included


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solely for the purpose of providing a method whereby the rent is to be measured and ascertained.

41.       Captions and Section Numbed.

The captions and section numbers appearing in this Agreement are inserted only as a matter of
convenience and in no way affect this Agreement.

42.       Broker's Commission.

Each of the parties represents and warrants that there are no claims for brokerage. commissions or
finder's fees in connection with the execution of this Agreement and each of the parties agrees to
indemnify the other against and hold it harmless from all liabilities arising from any such claim
(including, without limitation the cost of counsel fees in connection therewith).

43.       Partial Invalidity.

If any term, covenant or condition of this Agreement or the application thereof to any person or
circumstances shall, to any extent, be invalid or 'unenforceable, the remainder of this Agreement,
or the application of such term, covenant or condition to persons or circumstances other than
those to which it is held invalid or unenforceable; shall not be affected thereby and each term,
covenant or condition of this Agreement 'shall be valid and be enforced to the fullest extent
permitted by law.

44.       No Option.

The submission of this Agreement for examination does not constitute a reservation of or option
for the Leased Premises, and this Agreement becomes effective as a lease only upon execution
and delivery thereof by Landlord and Tenant.

45.      Recording.

a..              Tenant shall not record this Agreement without the written consent of Landlord;
                 however, upon the request of either party hereto' the other party shall join in the
                 execution of a memorandum or so-called "short form" of this Agreement for the
                 purpose of recordation. Said memorandum or short form of this Agreement shall
                 describe the parties, the Leased Premises and the term of this Agreement and shall
                 incorporate this Agreement by reference.

b.               Landlord shall have the right to record this Agreement and, at the request of
                 Landlord, Tenant agrees to execute the necessary acknowledgments required to
                 record this Agreement, in either short form or long font.    •

c.               The party requesting recordation shall be responsible for all costs thereof.

46.      Financial Information. •

Upon written request from Landlord to Tenant, not more often than once in every twelve (12)
month period, Tenant will furnish Landlord with audited financial statements and current


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financial statements for Tenant and Guarantor not later than Baud.= (14) days following such
request. The failure to fully satisfy Landlord's request shall not bar another request for the
balance of such statements prior to the expiration of said 12-month period. Such statements of
financial condition shall include balance sheets, profit and loss statements and any .related
footnotes.

47.       Waiver of July Trial and Counterclaims.

THE PARTIES HERETO SHALL, AND THEY HEREBY DO, WAIVE TRIAL BY JURY IN
ANY ACTION, PROCEEDING OR COUNTERCLAIM BROUGHT BY EITHER OF THE
PARTIES HEREBY AGAINST THE OTHER- ON ANY MATTERS WHATSOEVER
ARISING OUT OF OR IN ANY WAY CONNECTED WITH THIS AGREEMENT, THE
RELATIONSHIP WITH LANDLORD AND TENANT, TENANT'S USE OR OCCUPANCY
OF THE LEASED PREMISES, AND/OR ANY CLAIM OF INJURY OR DAMAGE. IN THE
EVENT LANDLORD COMMENCES ANY PROCEEDINGS FOR NON-PAYMENT OF
MINIMUM RENT OR ADDITIONAL RENT, TENANT WILL NOT INTERPOSE ANY
COUNTERCLAIM OF WHATEVER NATURE OR DESCRIPTION IN ANY • SUCH
PROCEEDINGS. . THIS .SHALL NOT, HOWEVER, BE CONSTRUED AS A WAIVER OF
TENANT'S RIGHT TO ASSERT SUCH CLAIMS IN ANY SEPARATE ACTION OR
ACTIONS BROUGHT BY TENANT.

48.      Counterpart Execution.

This Agreement may be executed in several counterparts, each of which shall be deemed an
original and all of which counterparts together shall constitute one•and the same instrument

49.      Merger.

This Agreement contains the entire agreement between the parties with respect to the subject
matter of the Agreement and supersedes all prior agreements and understandings, both oral and
written, between the parties with respect to the subject matter of the Agreethent.

50.      Severability.

If any one or more of the provisions or parts of a provision contained herein shall, for any reason,
be held to be invalid, illegal or unenforceable in any respect in any jurisdiction, such
determination of invalidity, illegality, or =enforceability shall not affect any other provision or
part of a provision, but this Agreement shall be reformed and construed as if such invalid, illegal
or unenforceable provision or part of a provision had never been contained herein and such
provision or part shall be reformed so that it would be valid, legal and enforceable to the
maximum extent permitted in such jurisdiction.

                (Remainder ofPage is Blank Signatures Contained on Following Page)            -




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IN WITNESS WHEREOF, the parties herein have hereunto set their hands on the date indicated
below their signatures.

Landlord:

VC MACO



         J. Wit tita Foe, its OPIfittesue.I        ttikja.


By:
            . Davis, its in        ..:„ee/Ade.,,
                                                             Dated:   ofp,
Tenant:

VIRGINIA COLLEGE, LLC


By:                                                          Dated:   5/147/0
Its:                          Cit- c)
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                                EXHIBIT "A"
                                  TRACT 1

ALL THAT TRACT OR PARCEL OF LAND LYING IN LAND LOTS 156 & 157, 4TH LAND
DISTRICT, MACON, BIBB COUNTY, GEORGIA AND BEING MORE PARTICULARLY
DESCRIBED AS FOLLOWS:
  TO FIND THE POINT OF BEGINNING, COMMENCE AT A 112" REBAR AND CAP SET
  AT THE INTERSECTION OF THE SOUTHERLY RIGHT-OF-WAY LINE OF
  EISENHOWER PARKWAY (U.S. 80 250' R/W) AND THE WESTERLY RIGHT-OF-WAY
  LINE OF HERON ST (60' R/W) SAID POINT BEING THE POINT OF REFERENCE;
  THENCE N85°17'26"W A DISTANCE OF 546.34" ALONG SAID RIGHT OF WAY OF
  EISENHOWER PARKWAY TO A 1/2" REBAR FOUND; THENCE LEAVING SAID RIGHT-
' OF-WAY S01°30.51"W A DISTANCE OF 55.08' TO A 1/2" REBAR AND CAP SET AND
  THE POINT OF BEGINNING; THENCE FROM SAID POINT OF BEGINNING WITH A
  CURVE TURNING TO THE RIGHT WITH AN ARC LENGTH OF 117.80', WITH A
  RADIUS OF 181.00', WITH A CHORD BEARING OF S66°10'28"E, WITH A CHORD
  LENGTH OF 115.73' TO A 1/2" REBAR AND CAP SET; THENCE S47°31'46"E A
  DISTANCE OF 236.47' TO A 1/2" REBAR AND CAP SET; THENCE WITH A CURVE
TURNING TO THE LEFT WITH AN ARC LENGTH OF 172.37', WITH A RADIUS OF
240.00', WITH A CHORD BEARING OF S68°06'16"E, WITH A CHORD LENGTH OF
168.69' TO A 1/2" REBAR AND CAP SET; THENCE S88°40'44"E A DISTANCE OF 381.85'
TO A 1/2" REBAR AND CAP SET; THENCE N01919'16"E A DISTANCE OF 55.00' TO A
1/2" REBAR AND CAP SET; THENCE S88°40'44"E A DISTANCE OF 153.98' TO A 1/2"
REBAR AND CAP SET; THENCE S01°09'32"W A DISTANCE OF 799.10' TO A POINT;
THENCE N88°56'13"W A DISTANCE OF 984.41' TO A 1/2" REBAR FOUND; THENCE
N01°30'51"E A DISTANCE OF 381.02' TO A 1/2" REBAR AND CAP SET; THENCE
NO1°30'51"E A DISTANCE OF 626.70' TO A lir REBAR AND CAP SET; SAID POINT
BEING THE POINT OF BEGINNING. SAID TRACT OF LAND CONTAINS 18.25 ACRES
MORE OR LESS AND BEING MORE PARTICULARLY DESCRIBED ON THAT CERTAIN
ALTA/ACSM SURVEY PREPARED FOR VC MACON,GA, LLC, A MISSISSIPPI LIMITED
LIABILITY COMPANY, BANKPLUS, A MISSISSIPPI BANK, AND FIRST AMERICAN
TITLE INSURANCE COMPANY, DATED APRIL 1, 2010 BY DAVID G. BENNETT,
GEORGIA REGISTERED LAND SURVEYOR NO. 3122 ON BEHALF OF DONALDSON,
GARRETT & ASSOCIATES, INC.
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                                 EXHIBIT "B"
                         COMMENCEMENT DATE ADDENDUM

THIS COMMENCEMENT DATE ADDENDUM (this "Addendie) is made and entered into
on                              , 2010 and between VC Macon, GA, LLC, a Mississippi limited
liability company, or its successors and assigns ("Landlord") and Virginia College, LLC, an
Alabama limited liability company ("Tmat") pursuant to that certain Lease Agreement (the
"Lain dated                          . 2010, between Landlord and Tenant.

Landlord and Tenant have executed the Lease, and the Lease contemplates that Landlord and
Tenant will execute this Addendum upon the delivery of the Leased Premises to Tenant for
Tenant's exclusive possession and that the term of the Lease shall commence on the
Commencement Date (as defined in the Lease). Landlord and Tenant now desire to stipulate and
agree 0) to the Delivery Date (as defined in the Lease), (ii) to the Commencement Date (as
defined in the Lease) and (iii) to the termination date of the term of the Lease.

Now, therefore, Landlord and Tenant stipulate and agree as follows:

1.     The Delivery Date, as defined in the Lease, is                           20_.

2.     The Commencement Date, as defined in the Lease, is                       ,         and the
       term of the Lease shall terminate 011                                      20     , unless
       extended by Tenant by electing its option to renew and extend the Lease Term.

3.     Section 3 entitled "Minimum Rent and Additional Rent" subsection (a) is stricken and the
       following is submitted therefor: Tenant agrees to pay to the Landlord net minimum rent
       for the Leased Premises (the "Iter       _Rent") in equal monthly installments in advance
       not later than the fifth (5th) day of each month of the Term; in the first full Lease Year
       and any ..prior partial Lease Year, Tenant shall deliver the monthly Minimum Rent
       installment of                              (calculated upon an initial • annual- Minimum
       Rent equal to
       Dollars). Any partial months during the.Term shall be prorated on a per diem'basis.


4.     This Addendum may be executed in several counterparts, each of which shall be deemed
       an original and all of which counterparts together shall constitute one and the same
       instrument


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        IN WITNESS WHEREOF, Landlord and Tenant have executed this Addendum on the
date first written above.

        LANDLORD:

        VC MACON, GA, LLC

        By:                                                        Dated:
              I. Wilson La Foe,

       By:                                                         Dated:
              J. F. Davis,

       TENANT:

       VIRGINIA COLLEGE,' LLC

       Br                                                          Dated:
       Its:


                                        EXBD3ff "c"

                               SCHEDULE OF COVENANTS

1. That certain Declaration of Easements and Restrictive Covenants, dated March 18, 1998,
  . executed by WHF, Inc., and recorded in Deed Book 4137, Page 172, of the Bibb County
    Clerk's Office; atiamended by that certain First Amendment to Declaration of Easements and
    Restrictive Covenants, dated March 24, 1998, by WHF, Inc., and recorded in Deed Book
    4140, Page 305 of the Bibb County           Office; as further amended by that certain Second
    Amendment to Declaration of Easements and Restrictive Covenants, dated October 26, 1999,
    by JDN Realty Corporation, and recorded in Deed Book 4594, Page 227, in the Bibb County
    Clerk's Office.




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                                            EXHIBIT "I)"

                                        LEASE GUARANTY
       In consideration of the execution and delivery of that certain Lease Agreement dated of
even date herewith (hereinafter referred to as the "Lease") made by VC MACON, GA, LLC, a
Mississippi limited liability company, as Landlord, and VIRGINIA COLLEGE, LLC as Tenant
(being a wholly owned subsidiary of Guarantor) to induce Landlord to enter into the Lease (it
being acknowledged and agreed that without Guarantor's guaranty, Landlord would not have
entered into the Lease with Tenint), the undersigned EDUCATION CORPORATION OP
AMERICA, a Delaware corporation (hereinafter referred to as "Guarantor"), having offices at
3660 Grandview Parkway, Suite 300, Birmingham, Alabama 35243, its successors and assigns,
hereby guarantees to the Landlord, its successors and assigns, the payment of the rent reserved in
the Lease and the performance by the Tenant of all the terms and provisions therein contained
and any subsequent modifications thereto made with or without Guarantor's (*meat. •
       Provided due and proper notice• or demand is given the Tenant, Guarantor hereby
expressly waives notice of all defaults and agrees that the waiver of any rights by the Landlord
against the Tenant, arising out of defaults by the Tenant or otherwise, shall not in any way
modify or release the obligations of Guarantor.
        This guaranty is and shall be construed as an absolute, continuing and unlimited
guarantee of payment and performance commencing on the date hereof and throughout the entire
term of the Lease and any other time Tenant has possession of the premises demised under the
Lease, without regard to the regularity, validity or enforceability of any liability or obligation of
the Tenant hereby guaranteed; and the Landlord shall not be required to proceed first against the
Tenant or any other person or entity or against any collateral security held by Landlord before
resorting to the undersigned for payment and performance.

         The undersigned hereby waives:
              a. Notice of the acceptance of this Guaranty;
              b. Notice of any event of default under the Lease;

              c. Opportunity to- cure any event of default;
              d. Proof of notice or demand to Tenant relating to any event of default to the extent
                 notice is actually provided to Tenant.
       The obligations of the undersigned under this Guaranty shall not be terminated, affected,
or impaired in any manner by:

         a)      Any changes, modifications, or amendments to the Lease;


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      b)     Any extension or renewal of the term of the Lease, or expansion of the Leased
Premises; or
      Landlord's waiver of any terms, covenants, conditions, or agreements of the Lease, all of
which may be done without notice to, or the consent of the undersigned.

       The obligations of the undersigned under this Guaranty shill not be terminated, affected,
or impaired in any manner by reason of

       a)      The 'assertion by Landlord against Tenant of any of the rights or remedies
available to Landlord under the Lease;
    • b)        The release or. discharge of Tenant from any of Tenant's obligations under the
Lease by operation of any bankruptcy, insolvency, or similar law or the actual or purported
rejection of the Lease by a trustee in bankruptcy on behalf of Tenant;
       c)      The failure of Landlord to exhaust or pursue any of its rights or         remedies
available against Tenant or any other guarantor,
         d)    The granting by Landlord of any indulgences or extensions of time to Tenant.
        e)      Any subletting. of all or any part of the Leased Premises or any assignment or
other transfer of the Lease;
         f)    Landlord's release or discharge of any other giiarantor; or

        g)     Landlord's receipt, application, release, or impairment of any security or
collateral given to secure .the performance and obiervance of the terms and covenants of the
Lease.
       The undersigned subordinates any liability or indebtedness of Tenant now or hereafter
held by the undersigned to.the obligations of Tenant to the Landlord under the Lease.
       If Landlord takes any action or participates in any'proceeding to enforce the Lease or this
Guaranty, or to protect Landlord's rights hereunder or thereunder after the occurrence of an
event of default Cie lulling, but not limited to, bankruptcy, appellate, and - post-judgment
proceedings), the undersigned shall pay to Landlord all costs and expenses, including reasonable


        The benefits of this Guarargy shall inure to the successors and assigns of Landlord and
shall be binding upon 'the successors, assigns, and legal and 'personal representatives of the
undersigned. For purposes of this Guaranty, the word "Tenant" shall also include the successors
and assigns of Tenant. This paragraph shall not affect the restrictions relating to assignments and
subletting by Tenant as set out in the Lease.


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        This Guaranty shall be governed by and construed in accordance with the laws of the
state in which the Leased Premises are located, without reference to any principles of conflict of
laws. Venue for all actions or proceedings relating to or arising out of this Guaranty shall be in
the County in which the Leased Premises are located.
      This Guaranty may not be amended, modified, discharged, or terminated orally or in any
manner other than by an agreement in writing signed by Landlord..

        Guarantor hereby represents and warrants that all financial statements submitted by
Guarantor to Landlord in connection with the Lease are true and correct in all respects, and fairly
present the financial condition of Guarantor.

                                               GUARANTOR:
                                               EDUCATION CORPORATION OF AMERICA


Date:         .V/A                             By:

                                               Print Name:            "OW,           146a
                                               Print Title:             CoC:


STATE OF Aiabazrna.)
COUNTY okip.A447t1                    )
         I, the undersigned authority, a Notary Public in and for said County in said State, hereby
certify that g.094..-                              , whose name as 0/V
of Education Corporation of America, a Delaware corporation, is signed to the foregoing
instrument, and who is known to me, acknowledged before me on this day that, being infarmed
of the• contents of said instrument, he/she, as such officer and with full authority, executed the
same voluntarily for and as the act of said corporation.
        Given under my hand and official seal, this 1tcp(11/ day of Ma.Left J         , 2010.



                                                                                                      •• .
AFFIX SEAL                                           k).,),„0 ao*;>11...                          •   • .
                                                                    Notary Public
                                                                                         •
                            LP 40- (t.'013                                                   •e
My commission                                                                                            .




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              EXHIBIT B
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                                                                                          eApek lase_




                                      LEASE AGREEMENT


THIS LEASE AGREEMENT (this "at")                    is made and entered into on the latest date
shown by the signatures of the parties hereto (the "Effeguysagg") by and between VC Macon,
GA, LLC, a Mississippi limited liability company, or its successors and assigns ("jmad ") and
Virginia College, LW, an Alabama limited liability company (Man.

1.        Leased Premises.
          (a)   In consideration of the rents, toms, provisions and covenants of this Agreement,
                Landlord hereby leases, lets and demises to Thorn and Taunt hereby takes, the
                following described Leased Premises (the "Erg          " or "IgnaraLftmlair)
                comprised of certain land, buildings and related improvements located at 1901
                Paul Walsh Drive in Macon, Bibb County, Georgia, including all appurtenances,
                licenses, easements, entitlements and permits related thereto. The Leased
                Premises are more particularly described in Exhibit "A." attached hereto and
                incorporated herein by reference. The Leased Premises contains 53,688 usable
                square fed of improved space in a portion of a building of approximately 102,098
                usable square feet (the "MAW) located on approximately 18.25 acres of land.
                The remaining 48,410 usable square feet of improved space in said Building is
                also being leased concurrently herewith by Tenant from landlord and is referred
                to herein as the iskstallemthat
          (b)   This Agreement is contingent upon Landlord's ownership and control of the
                 Leased Premises. Landlord shall deliver to Tenant pcoession of the Leased
                Premises in accordance with the terms of this Section no later than
                 Aped S 20)0 (the "Delivery Deadline"); or as amended by Landlord and
                Thant in'writing. The date that 'Tenant obtains exclusive possession of the
                Leased Preanise shall hereafter be referred to as the "Delivery Date." In the event
                Landlord fails to deliver possession of the Leased Premises by the Delivery
                Deadline, Tenant shall have the right to terminate this Agreement by notice to
                Landlord delivered within five (5) business days following the Delivery Deadline.
                In the event Tenant laminates that certain Lease Agreement, dated of even date
                herewith, relating to the School Premises (the "Scbool Lease"), then Thant may
                terminate this Agteement upon written notice to Landon!. If Landlord cannot
                deliver possession of the Leased Premises, landlord shall not be deemed to be in
                default. lbnint agrees to accept possession of the Leased Premises at such tide
                as Landlord is able to tender the same. unless Tenant exercises its tarnination
                darn set forth above.

         (c)    Tenant agrees to accept the Leased Premises in the "as-is, where is" condition.




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2.        Term.

          (a)     The term of this Agreement (as such term may be extended pursuant to subsection
                  2(e) below;the "Ian shall be a period of fifteen (15) years commencing on the
                  Commencement Date under the School Lease (the "QoalencesaL120").

          (b)     The term "Lease Year" as used •herein shall mean each successive Rill calendar
                  year of this Agreement, beginning with the calendar year 201L The partial year
                  from the Commencement Date with January 1, 2011 and the partial year from the
                  end of the final full Lease Year to the Expiration Date (defined below) hereof
                  shall be considered partial Lease Years.
          (c)     The Term shall end and this Agreement expire on the last day of the fifteenth
                  (15th) full Lease Year, subject to Tenant's renewal option(s) as provided in
                  subsection 2(e) below (the"Dagnala").

          (d)     Within thirty (30) days of the Commencement Date, and without any further
                  request Tenant and Landlord shall acknowledge the Delivery Date, the
                  Commencement Date, and the Term by executing a document entitled the
                  "Co ..... • • - . Date Addenda" which form is attached as Exhibit "B". By
                  executing the Commencement Date Addendum, Tenant is accepting possession of
                  the Leased Premises and reconfinning the tams and conditions of this
                  Agreement
         (e)      Provided Tenant is not in default at the time Tenant delivers a renewal notice to
                  Landlord after giving effect to applicable grace, notice and cure periods, Tenant
                  shall have two (2) options to renew for a term of five (5) years Sr each option,
                  upon all the terms, covenants, and conditions set forth in this Agreement To elect
                  such options, Ilmant must give landlord written notice to renew no less than six
                  (6) months prior to the expiration of the then-current Term. After the exercise of a
                  renewal option, all references to the Term of this Agreement shall be deemed to
                  mean the lam, as extended pursuant to this Section.
3.       MInlmam Rent and Additional Rent.
         (a)      'anent agrees to pay to the Landlord net minimum rent for the Leased Premises
                  (the "hfugagrala") in egad monthly installments in advance not later than the
                  fifth (5th) day of each month of the Term; in the first full Lease Year and any prior
                  partial Lease Year, Tenant shalldeliver the monthly lrifinimum Rent installment of
                  122,370.00 (calculated upon an initial annual brmimunt Rent equal to Two
                  Hundred Sixty-Bight Thousand Four Hundred Forty and OW100 Dollars
                  068,440.00) Any partial months during the Tam shall be prorated on a pa
                  diem basis.




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       (b)      Beginning with the second (2a ) full Lease Year and for each successive Lease
                Year until the end of the Term,• the annual Minimum Rent shall increase by one
                percent (1%) per annum over the previous year's Minimum Rent.
       (c)      Except for the Minimum Rent, any payment of funds or sums due Landlord that
                are required under this Agreement shall be defined as Additional Rent (the
                "~ditional Rent").

       (d)      All Minimum Rent and Additional Rent payable under this Agreement is payable
                during the Term, commencing on the Commencement Date, and shall be paid and
                delivered to the Landlord at the place designated by the Landlord for notices
                under this Agreement, or such other place as it may subsequently designate in
                writing.
4.     Late Charge.
Other remedies for nonpayment of rent notwithstanding, if the Minimum Rent or Additional
Rent payment is not received by Landlord on or before five (5) days after the due date of the
month for which rent is late, a charge of five percent (5%) of Tenant's delinquent rent payment
shall be assessed to Tenant ("Late Fed'). Such Late Fee shall be immediately due and payable in
addition to the Minimum Rent or Additional Rent, if any, owed by Tenant under the terms of this
Agreement. The provision for such late'charge shall be in addition to all of Landlord's other
rights and remedies hereunder or at law shall not be construed as liquidated damages or as
limiting Landlord's remedies in any marmer. Landlord's receipt of a partial payment of
Minimum Rent or Additional Rent shall not operate as a waiver or release of any outstanding
sum due hereunder.
5.     Usage.
       (a)    The Leased Premises may be used for any lawful purpose permitted under the
              instruments or laws described in 13xhibit ulr attached hereto. Landlord will use
              its best effort to obtain the necessary consents of the adjoining shopping center
              tenants and owner(s), if required, for any permitted use of the Leased Premises.
              Tenant shall at its own cost and expense obtain the necessary licenses and permits
              necessary for any such use.
       (b)   On or before the Effective Date, Landlord shall provide Tenant with: (I) its most
             recent title insurance commitment covering the Leased Premises, (ii) a copy of
             Landlord's most recent survey of the Leased Premises, and OM the instruments
             and other documents described in Exhibit “C" attached hereto (collectively, the
             "Connear). All construction, improvements, modifications, occupancy, use
             and operations of the Leased Premises and the surrounding parking 'and access
             areas are subject to the Covenants.
       (c)   Tbrumt is not required to operate a business in the Leased Premises.at any time.




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-6.       Signage.

          (a)   Tenant shall have the right to the maximum building signage available under local
                law and specifically, to the maximum signage permitted by law and the Covenants
                or other restrictions that apply to the Leased Premises. lbnant shall at its expense
                also have the right to maximum signage on any and all pylon or monument
                signage now existing or that may become available or constructed by Tenant on
                the Leased Premises that is permitted by law and the Covenants at any time
                during the Term. To the extent allciwed by law, Tenant shall have the right to
                operate its business and install signage under any of its authorized trade names
                including, but not limited to, Virginia College. Landlord makes no representation
                or warranty regarding the availability or permission tcl use any of Thzumes trade
                names within theiState of Georgia.
          (b)   During the final SIX (6) months of the Term hereof or any extension or renewal
                thereof, Landlord shall have the right to post a "For Rent" sign and to show the
                Leased Premises at reasonable hours to prospective tenants.
7.        Alterations.
          (a)   Tenant shall not make or allow to be made any structural alterations, additions,
                improvements and/or upgrades in or to the Leased Premises or alterations that
                impact the exterior of or systems serving the Leased Premises without first
                providing Landlord copies of the plans and specifications for those improvements
                and obtaining the written consent of Landlord to proceed with those
                improvements. Tenant may not alter or modify any Common Area (as defined in
                the Covenants) including. without limitation, all parking areas, absent Landlord's
                consent Any alterations, additions, improvements and/or upgrades to the Leased
                Preanises made by Landlord or Thnimt (excluding satellite and/or wireless
                communications equipment installed by Tenant on, and removed without damage
                to, the roof and Tenant's trade fixtures, equipment or other personal property)
                shall at once become the property of Landlord and shall be surrendered to
                Landlord upon the termination of this Agreement
         (b)    Absent Landlord's express prior consent Tenant shall have no authority, express
                or implied. to allow or permit any claim, lien or encumbrance of any kind or
                nature whatsoever upon, or in any manner to bind, the interest of Landlord In the
                Leased Premises or Tenant's leasehold interest arising hereunder or to charge or
                assign the rentals payable hereunder for any claim, debt or obligation in fiivor of
                any other party dealing with Tenant, including without limitation those who may
                Amish nutterials or perform labor for any construction or repairs. Tenant may not
                create any loan, indebtedness or obligation that is secured with its leasehold
                interest arising hereunder. Thnant covenants and agrees that it will immediately
                pay or cause to be paid all sums legally due and payable by it on account of any
                debt, obligation, promise, agreement, labor performed or materials furnished in
                connection with any work performed on the Leased Premise's which may result in



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                 a claim or lien asserted against its leasehold interest in the Leased Premises or the
                 improvements thereon and that it hereby indemnifies. holds harmless and agrees
                 to defend Landlord from any and all claims, debts, obligations, losses, costs or
                 expenses, including without limitation attorney's fees, based on or arising out of
                 threatened or asserted claims or liens against the leasehold rotate or against the
                 right, title and interest of the Landlord in the Leased Premises or otherwise in
                 contravention of this Agreement

          (0)   If Tenant causes any construction or improvements to the Premises after the
                 Commencement Da Tenant shall immediately pay all contractors,
                 subcontractors, suppliers, laborers and materialmen, so as to prevent the
                 possibility of a lien attaching to the Leased Premises, and should any such claim
                 or lien be threatened, made or filed, Tenant shall immediately contest same or
                 bond against or discharge the same within thirty (30) days of mitten notice of
                 such lien. Tenant shall immediately notify Landlord of all such claims or liens.
                 Tenant shall diligently pursue any such contest, and upon failure to prevail in such
                 contest, shall fully discharge such Hat at its sole cost and expense irothallefelY
                 upon landlord's request. Notwithstanding the foregoing. Tenant herein shall not
                have any authority to create any mechanics' or materialmen's liens on the
                landlord's interest in the Leased Premises.
                                                                   •
          (d)   Notwithstanding any provision of this Agreanent to the contrary, Tenant shall
                have the right to install a satellite dish or other transmission or reception device
                on the roof of the Leased Premises if necessary for its business operations
                provided that Tenant shall seek prior approval from Landlord whlch approval
                shall not be unreasonably withheld. In the event Thant exercises its right to
                install such a satellite dish or device, Tenant shall ensure that said installation is in
                compliance with ell applicable restrictions, codes, regulations, laws, ordinances
                and statutes. Tenant shall be solely responsible for obtaining, all required permits
                and the maintenance of such equipment, and any repairs to the roof required by
                reason of said equipment and its installation or removal.
8.       Utrntles, Covenant Coats, Thus, Insurance and Additional Rent.
Beginning on the Commencement Date, Tenant shall be responsible for the following:
         (a)    Tenant shall pay all expenses related to all utilities serving the Leased Premises
                including, but not limited to, wata, sewer, gas and electricity metered. to the
                Leased Premises, and for all charges fbr telephone service.
                Additionally, if the Leased Premisro is subject to the payment of any costs under
                the Covenants, including without limitation, Common Area (as defined in the
                Covenants) lighting, security and maintenance costs and the shared expense fee
                payable in connection with the road through the adjacent shopping center (the
                'Taxman,             Thant shell timely pay such Covenant Costs directly to the
                third party entitled to such payment Landlord reserves the right to forward a



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                 copy of any Covenant Costs invoice or statement directly to lenant In any event,
                 Tenant shall pay such Covenant Costs on or before the due date thereof.
          (c)    Tenant shall pay before delinquency all taxes, assessments, license fees, and other
                 charges that are levied and assessed on Tenant's personal property, alterations, and
                 trade fixtures.
          (d)      Tenant shall. pay Landlord all• taxes and government charges and assessments
                   including without limitation all real estate ad valorem taxes, all personal property
                   taxes, sales tax on rents, governmental and public charges and special
                   assessments, if any, for each year imposed against the Leased Premises. If any
                   governmental authority having jurisdiction now or hereafter imposes upon
                   Landlord, pursuant to statute, ordinance, regulation, order or otherwise, a tax,
                   levy, or other imposition. based upon the rentals received by Landlord under the
                   terms of this Agreement, Tenant shall, upon demand, pay to Landlord as
                  Additional Rent the amount thereof at the time the rental payments fall due with
                   respect to the term of this Agreement The tax, levy, or imposition to which
                   reference is made in this Section shall include sales, excise, ad valorem; personal
                  property or similar taxes. but shall not include rollback, charge back or other
                  assessment relating to any period prior to the Term of this Agreement or
                  subsequent expiration of the Term of this Agreement, capital stock, estate,
                • inheritance, income or franchise taxes imposed upon Landlord. Tenant shall pay
                   Landlord, in advance, per month on the first (1st) day of each month as Additional
                  Rent one-twelfth (1/12th) of the current annual real estate ad valorem tax
                  assessment, sales tax on rent, personal property taxes, governmental and public
                  charges and special assessments or imposition. If the current assessments or
                  Impositions have not been fixed for the applicable year, then those of the
                  preceding tax year shall be used as an estimate for the payments due on the first
                  day of each month. All additional funds required for any difference between the
                  estimated payments and the actual payments shall be paid to Landlord as
                  Additional Rent within fifteen (15) days following Landlord's request and . any
                  excess shall be refunded within fifteen (15) days or credited against the
                  subsequent month's(s') rvlinimum Rent. At its own cost and expense, Tenant may
                  contest the amount or validity, in whole or in part, of any assessment or
                  imposition or seek a reduction in the assessed valuation of the Leased Premises by
                  appropriate proceedings diligently conducted in good faith. Tenant shall first
                  consult with Landlord and obtain its consent before contesting any assessment or
                  charge. Tenant shall promptly pay any contested assessment or imposition unless
                  the proceeding preventi or stays its collection and Tenant deposits with Landlord
                  the amount contested and unpaid, together with a sum to cover all charges that
                  may be assessed against the Leased Premises in such proceeding. Upon final
                  determination of any such proceeding, Tenant Shall deliver to Landlord proof of
                  the amount of such assessment or imposition as finally determined. Landlord
                  shall not suffer or sustain any costs or expenses (mcluding, but not limited to,
                  attorneys' fees) or any liabilities in connection with such proceeding. Landlord




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                shall then pay such assessment or imposition, including interest, fees, penalties,
                and other liabilities awarded therein out of the sum so deposited with it by illmant
                and refund any balance to Tenant. If sums deposited with Landlord are
                insufficient to pay the full amount of such assessment or imposition and other
                charges, Tenant shall immediately pay any deficiency. If during such proceeding
                Landlord in good Nth deems the sums deposited with it insufficient, Talent shall,
                upon demand, deposit with Landlord such additional sums that Landlord may
                reasonably request. Landlord, at Tenant's cost and expense, shall join in any such
                proceedings required by law. Furthermore, Landlord may contest the amount or
                validity, in whole or part, of any such assessment or imposition or seek a
                reduction in the assessed valuation of the Leased Premises; provided, however,
                any expenses of same shall be reimbursed to Landlord by Tenant only to the
                extent of actual savings realized by Tenant
          (e)   Landlord covenants not to make any changes, additions or alterations to the
                Leased Premises or surrounding common areas without first obtaining Tenant's
                written consent. Landlord shall not enter into any covenants, easements or other
                agreements that prohibit or restrict Tenant's proposed use of the Leased Premises
                or otherwise change the terms of this Agreement, including the costs incurred by
                Tenant herermder, without Ilmant's prior written consent, which may be withheld
                in Tenant's reasonable discretion. Notwithstanding, Landlord may make such
                alterations required or imposed by law, ordinance or the Covenants, or in the
                event of an emergency in order to protect Landlord's interest in the Leased
                Premises.
         (f)    All charges and costs arising under this Section 8 shall be deemed Additional
                Rent. Tenant hereby agrees to indemnify, hold harmless and defend Landlord of
                and from any charges, liens, loss, damages, expenses, costs or claims including,
                without limitation, reasonable attorney's fees arising out of Tenant's obligations
                under this Section 8.
9.       Repairs and Maintenance.
Beginning on the Commencement Date, Tenant shall be responsible for the following:
         (a)    Tenant shall, at its sole cost and immense keep the entire Leased Premises and the
                real estate upon which the Leased Premises are situated, including, but not limited
                to, the roo& exterior walls, windows, window gloss, plate glass, doors, partitions,
                factures„ equipment and appurtenances thereto (including lighting, heating and
                plumbing fixtures, and air conditioning systems), foundations, grounds, drives
                and parking area in good repair and condition, normal wear and tear and damages
                caused by casualty (except to the extent that Um= is obligated to restore such
                damage in accordance with the terms of this Agreement) excepted, and 'Tenant
                shall immediately make all maintenance and/or repairs thereto which may be
                necessary. Moreover; Tenant shall, at its sole cost and expense, immediately
                repair or replace any damage or injury to all or any part of the Leased Premises.



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                Tenant shall immediately notify Landlord of any damages to the Leased Premises.
                Tenant shall be provided with all the benefits of all third party construction and
                equipment warranties, bonds and guaranties for this purpose. Tenant shall not be
                entitled to any abatement or reduction of Minimum or Additional Rent, by reason
                of any maintenance, repairs, alterations or additions made under the terms. of.this
                Agreement LEmdloni shall repair all damage caused by the gross negligence or
                willful misconduct of Landlord or Landlord's agents, members, officers,
                employees, contractors, sublessees, invitees, or licensees.
          (b)   Tenant shall not commit or allow any waste or damage to be committed on any
                portion of the Leased Premises, and at the termination of this Agreement, by lapse
                of time or otherwise, Tenant shall deliver the Leased Premises to Landlord in a
                condition at least as good as the condition the Leased Premises were in on the
                Commencement Date, normal wear and tear, damages caused by casualty (accept
                to the extent that Tenant is obligated to restore such damage in accordance with
                the terms of this Agreement) and approved alterations excepted Except as
                provided in Section 13, the cost and expense of any maintenance and/or repairs
                necessary to restore the condition of the Leased Premises as provided in this
                paragraph shall be borne by Tenant.
          (c)   Maintenance and repairs required to be made by Tenant, if not otherwise
                undertaken by Tenant without notice from Landlord, shall be completed not more
                than thirty (30) days (and such reasonably longer period of time in the event
                repairs cannot be completed within said 30 day period for reasons beyond
                Tenant's control) from and after receipt by Tenant of written notice from Landlord
                of the necessity to make such maintenance or repairs. If Tenant refuses or
                neglects to maintain or repair as required hereunder to the reasonable satisfiation
                of Landlord, Landlord may but shall not be required to make such repairs without
                liability to Tenant for any loss, injury or damage that may scent to Thames
                merchandise, equipment, inventory, fixtures or other property or to Tenant's
                business by reason thereoe and upon completion therm& Tenant shall pay
                Landlord's cost for making such repairs, plus ten percent (10%) for overhead,
                immediately upon presentation of a bill therefor, as Additional Rent

10.      Casualty Laurance; Public Liability Insurance.
Beginning on the Commencement Date, Tenant shall be responsible for the followingt;
         (a) . Tenant will maintain and pay all insurance premiums for Special Form Property
               Insurance covering all structures and improvements on the Leased Premises, the
               School Premises and all personal property owned by Tenant, with coverage for
               perils as sat forth on the Causes of Loss-Special Form or its equivalent with a
               coverage extension for the perils of flood and earthquake, in an amount equal to
               full replacement cost of such structures and improvements, and in any no• event,
               no less than the fidl replacement value or $7,500,000, whichever is greater,
               ("Marty Insurance). Such Property Insurance shall contain an agreed



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                valuation provision in lieu of any co-insurance clause, an increased cost of
                construction endorsement, changes in laws and ordinances endorsement, debris
                removal coverage, a waiver of subrogation endorsement in favor of Landlord and
                shall name the Landlord as loss payee.
          (b)   Tenant agrees to carry at all times during the term of this Agreement, at its sole
                cost and expense, for the benefit of Landlord and Tenant, general public liability
                insurance against claims for bodily injury, death or property damage occurring
                upon, in or about the Leased Premises, with combined single limits of not less
                than Two Million and No/100 dollars ($2,000,000.00) per occurrence for bodily
                injury or property damage., and Five Million and No/100 dollars ($5,000,000.00).
                in the aggregate. Tenant shall cause Landlord to be designated as an additional
                insured on such general public liability insurance policy.
          (c)   Tenant shall at all times during the term of this Agreement, at its sole cost and
                expense, maintain a policy or policies of business income insurance at a level
                sufficient to pay the Minimum Rent and Additional Rent herein provided. In the
                event the Leased Premises are destroyed, whether totally or partially, Tenant
                nevertheless shall remain_bound by the terms and provisions of this Agreement
                unless this Agreement is terminated in accordance with the terms hereof.
          (d)   Tenant shall not be allowed possession of the' Leased Premises absent the
                insurance policies required by this Section 10. Each policy of insurance, or a
                certificate thereoC, shall be promptly deposited with Landlord and shall provide
                for thirty (30) days advance written notice to the Landlord prior to cancellation or
                change. Each policy of insurance or certificate shall be accompanied by a waiver
                of subrogation endorsement in. favor of Landlord. Each policy of insurance or
                certificate shall be accompanied by evidence of the payment of premiums therefor
                in a form reasonably satisfactory to 'Landlord. If Tenant fails to flattish Landlord
                with such policY or policies of insurance or such certificates prior to occupancy of
                the Leased Premises, or at any time thereafter, Landlord may cause such
                insurance to be islued and charged to the account of Tenant provided that nothing
                herein shall be interpreted as requiring Landlord to secure such insurance. All
                insurance shall be with companies licensed to do business in the state where the
                Lamed Premises is located,. or to be located, and the fonn of the policies or
                certificates shall be subject to Landlord's approval, which approval shall not be
                unreasonably withheld.
11.      Casualty and Restoration.
Beginning on the Commencement Date, Tenant shall be responsible for the following;
         (a)    If the Leased Premises should be damaged by fire, the elements, unavoidable
                accident or other casualty to the extent that the Leased Premises are rendered
                inaccessible for business purposes or totally or partially unusable by Tenant in the
                ordinary course of Tenant's business, Tenant shall immediately, but no later than



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                 ten (10) of such casualty, provide notice to Landlord of such casualty. Within
                 thirty. (30) days following such casualty, Tenant shall notify Landlord of the
                 amount of time Tenant estimates it will take to repair such damage ("Tenant's
                 Ebgmate'''). As long as Landlord and Landlord's mortgagee provide Tenant with
                 adequate (as determined by' Tenant in Tenant's reasonable discretion) assurances
                 that insurance proceeds are available to Tenant, Tenant shall, to extent that such
                 insurance proceeds are made available to Tenant, repair the same and this
                 Agreement shall remain in full force and effect with no reduction of the Minimum
                 Rent and Additional Rent.

           (b)   Notwithstanding anything herein contained to the contrary, if the loss is expected
                 to render the Leased Primisea totally inaccessible or unusable by Tenant in the
                 ordinary conduct of Tenant's business' for more than six (6) months, then Tenant
                 may terminate this Agreement by written notice to the Lender and shall assign any
                 insurance claims relating to the improvements located on the Leased Premises to
                 Landlord.
 12.      Compliance with Laws, lades and Regulations.
Tenant shall, at Tenant's sole cost and expense, comply with all of the requirements of all
county, municipal, state, federal and other applicable governmental authorities, now in force,
pertaining to Tenant's use and occupancy of the Leaied Premises, and shall faithfully observe in
the use of the Leased Premises all municipal and county ordinances and state and federal statutes
now in force or which may hereafter be in force..
13.       Condemnation.
          (a)    If the Leased Premises are taken under the power of eminent domain or sold
                 under the threat of the exercise of such power to the extent that it substantially
                 impairs Tenant's use of the Lemied Premises (as determined by limant in its
                 reasonable discretion) (the "Condemnation"), this Agreement shall be terminated
                 on the date when the Leased Premises shall be so taken, and the rent shall be
                 prorated as of that date. Such termination shall be without prejudice to the rights
                 of either party to recover compensation from the condemning authority for any.
                 loss or damage caused by the Condemnation. Neither party shall have any rights
                 in or to any award made to the other by the condemning authority. Each party
                 expressly covenants and agrees not to assert a claim to any portion of an award in
                 thvor of the other. This covenant shall survive the termination of this Agreement

         (b)     If Tenant's use of the Leased Premises is not substantially impaired by
                 Condemnation as determined above and only a portion of the Leased Premises is
                 taken by such action then this Agreement shall terminate only, as to the part so
                 taken as of the date the condemning authority takes title or possession. This
                 Agreement shall remain in firll force and effect as to the portion of the remaining
                 Leased Premises except that Minimum Rent shall be apportioned as of the date of
                 vesting of title and Tenant shall be entitled to a pro rata reduction in the Minimum



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                 Rent payable hereunder based on the portion that the value of the space taken
                 bears to value of the Leased Premises immediately prior to such taking. •
          (c)     In either such event, the entire compensation award for the leasehold and
                  reversion shall belong to Landlord without deduction for any present or future
                 estate of Th ant, and Tenant hereby, assigns to Landlord all of its right, title and.
                 interest to such award. Tenant shall execute all required documents to evidence
                 such result. Tenant shall. however, be entitled to claim, prove and receive in the
                 condenmation proceedings any award allowed for loss of business, goodwill, •
                 fixtures 'and or 'other equipment installed by it.. but only if and to the extent such
                 award is in addition to the award for the land, building and other improvements
                 (or. portions theca:it .conudning. the Leased Premises. If this Agreement is not
                 terminated, as herein provided, Landlord shall, to the extent of severance damages
                 received by it in connection with such condemnation, promptly repair any
                 damages to the. Leased Premises caused by such condenumtion, except to the
                 extent that Tenant has been reimbursed therefor by the 'condemning authority.
                 Taunt aclmowledges that any portion of a condemnation award that is
                 designated, awarded or paid for repairs shall belong to and immediately be
                 delivered to Landlord. Tenant covenants to immediately notify Landlord if the
                 Landlord's portion of the condemnation award is paid to lensit and Tenant
                 covenants to immediately pay to Landlord any such amount: If Landlord 'firils to
                 provide adequate assurances to 'Tenant within ten (10) days of the conclusion of
                 the condemnation proceeding that all amounts necessary to repair any damages to
                 the Leased Premises caused by, such condemnation are readily available to
                 Landlord and will be promptly utilized for such repair, then Tenant may terminate
                 this Agreement by thirty (30) days prior written notice to Landlord.
14.       Tune la of the Essence.
Time is Of the essence under this Agreement
15.      Hold Harmless.
Landlord shall not be liable to Tenant or Tenant's owners, officers, managers. employees, agents,
servants, licensees, Visitor!, guests and/or business invitees, or to any other person, for any injury
to person or damage to property on or about the Leased Premises for any reason whatsoever,
except for injury or damages caused by the gross negligence or willfhl misconduct of Landlord
or its agents.or contractors. Tenant agrees to indemnify, hold harmless and defend Landlord of
and from any loss, expenses or claims including; without limitation. reasonable attorney's fees
arising out of any such damage or injury arising as a result of Tenant's (or Tenant's owners,
officers, managers. employees, agents, servants, licensees. visitors, guests and/or business
invitees) acts at, or use or occupancy of the Leased Premises.




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16.     Landlord's Lien Waiver.
Within twenty (20) days after request therefore, Landlord agrees to execute a lien waiver on
Tenant's lender's written form with respect to the personal property of Tenant located at the
Leased Premises. including but not limited to Tenant's inventory, business equipment and
proceeds therefrom. whether now owned or hereafter acquired, which lien waiver form shall
subject to the reasonable comments of Landlord..
17.     Landlord's Warranties and Covenants.
Landlord represents and warrants to and covenants with Tenant.that
        (a)   Subject to the Purchase & Sale Agreement between DDR Southeast Macon,
              L.L.C., a Delaware limited liability company, (the "Seller") and the Landlord,
              Landlord will acquire the Leased Premises in fee simple prior to the Construction
              Commencement Date (as defined in the School Lease). As of the date of this
              Agreement, there are no agreements, third party leases, restrictive covenants or
              exclusive or prohibited use provisions, other than the instruments or laws
              described in Exhibit "D" attached hereto, that in any way prohibit or restrict
              Tenant's proposed use of the Leased Premises for any lawful purpose;
        (b)   Landlord will join Tenant in any enforcement of any third party obligation under
              the Covenants, at Tenant's cost and expense; and
              Landlord has delivered or will deliver within twenty (20) days following the
              Effective Date, Landlord's Phase I Report (the "alga") addressed to Tenant.
18.     Quiet Enjoyment.
Landlord wammts that it has bill right to execute and to perform this Agreement and to grant the
estate leased, and. that Tenant, upon payment of the required rents and performing the terms,
conditions. covenants and agreements contained in this Agreement, shall peaceably and quietly
have, hold and enjoy the Leased Premises during the fu l term of this Agreement as well as any
extension or renewal without let or hindrince by Landlord or its agents; provided, however, that
Tenant accepts this Agreement subject and subordinate to the Covenants..
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19.      Hazardous Materials.

         (a)   Landlord makes no representation regarding Hazardous Materials affecting the
               Leased Premises. Landlord shall have performed a Phase I study and if required a
               Phase II study which shall be jointly certified to Landlord and Tenant.

         (b)   Neither Tenant, its successors or assigns, nor any permitted assignee, permitted
               sublessee or other perm acting at the direction of tenant shall: (a) manufacture,
               treat, use, store or dispose of any Hazardous Materials (as hereinafter defined) on
               the Leased Premises or any pat thereof in violation of any applicable
               Envirmunental Laws; or (b) knowingly permit the release of a Hazardous Material
               from within the Leased Premixes or any part thereof.
         (c)   In the event of a release of Hazardous Material by Tenant, or any of 'Tenant's
               agents, members, officer, employees, contractors, invitees, 'licensees or
               sublessees, Tenant shall indemnify, protect, defend and hold Landlord harmless
               from and against any and all • costs, fees, damages, losses, expenses and/or
               liabilities of any kind or nature in any way related to the release, removal,
               transportation and/or disposal of such Hazardous Materials, which obligation shall
               survive the expiration or earlier termination of this Agreement. If any action or
               proceeding be brought against Landlord by reason of such claim, Tenant upon
               notice from Landlord shall defend the same at Tenant's expense by counsel
               reasonably satisfactory to Landlord. In the event Landlord incurs any coats, fees,
               damages, losses, expenses, and/or liabilities in connection with a release of
               Hazardous Materials by Tenant or any of Tenant's agents, members, officer,
               employees, contractors, invitees, licensees or sublessees, Tenant shall pay such
               costs, fees, and/or expenses within ten (10) days of written request from Landlord.
               Landlord shall not incur any fees or costs before notifying Tenant that it is likely .
               to incur such fees and costs unless 'Tenant takes corrective action.

         (d)   In the event of a release of Hazardous Material by Landlord or any of Landlord's
               agents, members, officer. employees, contractors, invitees, licensees or sublessees
               or if the presence of any Hazardous Material in or around the Leased Premises is
               identified in the Phase I, Landlord shall indemnify, protect, defend and hold
               Tenant harmless from and against any and all coats, fees, damages, losses,
               expenses and/or liabilities of any kind or nature in any way related to the release,
               removal, transportation and/or disposal of such Hazardous Materials, which
               obligation shall survive the expiration or earlier termination of this Agreement If
               any action or proceeding be brought against Tenant by reason of such claim,
               Landlord upon notice from Tentmt shall defend the same at Landlord's expense.
               In the event Tenant incun any costs, fees, damages, losses, expenses, and/or
               liabilities in connection with a release of Hazardous Materials by Landlord or any
               of Landlord's agents, members, officer, employees, contractors. invitees. licensees
               or sublessees, Landlord shall pay such reasonable and direct costs, fees, and/or
               expenses within ten (10) days of written request firm taunt 'Tenant shall not




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                incur any fees or costs before notifying Landlord that it is likely to incur such fees
                and costs unless Landlord takes corrective action.

        (e)    Landlord and Tenant acknowledge and agree that Tenant is not assuming any
               liability or responsibility for Hazerdoui Materials located on the Leased Premises
               through no fault of Talent or any of Tenant's agents, members. officer.
               employees, contractors, invitees, licensees or sublessees and that Tenant is not an
               "owner" or "operator" of the Leased Premises with respect to such conditions. If
               any Hazardous Materials are present on or under the Leased Premises through no
               fault of Tenant or any of Tenant's agents, members, officer, employees,
               contractors, invitees, licensees or Sublessees, and such Hazardous Materials
               present a substantial threat to human health or safety and such condition remains
               umemedied for a period of six (6) months after written notice from Tenant to
               Landlord, then Tenant may terminate this Agreement upon written notice to
               Landlord.
        (f)    The term "Hazardous Materials" shall mean any waste, substance or material that
               is: (i) identified in Section 101(14) of the Comprehensive Environmental
               Response, Compensation and Liability Act of 1980! as the same may be amended
               from time to time (herein called "C=14"); or (ii) determined to be hazardous,
               toxic, a pollutant or contaminant, under federal, state or local law, including, but .
               not limited to, petroleum and petroleum products. The term "release" shall have
               the meaning given to such term in Section 101(22) of CERCLA.
20.     Landlord's Right of Entry.
Without releasing Tenant from any of its obligations hereunder, Landlord shall have the right to
enter the Leased Premises for the following: inspection; cleaning or making repairs if Tenant
fails to comply with its obligations in that regard; alterations or additions as Landlord may deem
necessary or desirable if Tenant toils to comply with its obligations in that regard; determining
Tenant's use of the Leased Premises; or determining if an act of default under this Agreement
has occurred. Landlord may also show the Leased Premises to piospective lenders purchases,
or prospective tenants, all in a meaner'so as to interfere as little as reasonably possible with the
business of Tenant
21.    Assignment, Sale or Sublease.
Landlord shall have the unrestricted right to sell, transfer and assign. in whole or in part, or
otherwise dispose of its rights and obligations in the Building and property that are the subject of
this Agreement. Upon such sale, transfei sac assignment, Landlord shall be released from the
terms and conditions of this Agreement and Tenant shall look to such assignee or transfixes to
satisfy the landlord's obligations under this Agreement. Provided Tenant is not then in default
under this Agreement after giving effect to applicable notice, grace and cure periods, .Tenant
shall have the wirestricted.right to assign this Agreement or to sublet, in whole or in part, any
portion of the Premises. Notwithstanding any such assignment or sublease. Tenant shall at all
times remain liable for the payment of Minimum Rent and Additional Rent herein and for
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compliance with all of its other obligations under this Agreement Upon the °commence of an
"event of default" as defined herein, if all or any part of the Leased Premises are then assigned or
sublet, Landlord, in addition to any other remedies provided by this Agreement or provided by
law, may at its option, collect directly from the assignee or subtenant, and/or the Tenant, both of
said parties being jointly and severally bound, all rents becoming due to Tenant by reason of the
assignment or sublease. Any collection directly by Landlord from the assignee or subtenant shall
not be construed to constitute a novation or a release of Tenant from the further performance of
its obligations under this Agreement
22.    Holding Over.
In the event of holding over by Tenant after the expiration or termination of this Agreement, the
hold OWN shall be as a taint at will on a day to day basis and all of the terms and provisions of
this Agreement, not otherwise in conflict with such status, shall be applicable during that period,
except that Tenant shall pay Landlord as rental for the period of such hold over an amount equal
to one hundred fifty percent (150%) times the rent which would have been payable by Tenant
had the hold over period been a part of the original Term. Tenant agrees to vacate and deliver
the Leased Premises to Landlord immediately upon expiration or termination of the Term in a
condition at least as good as the condition of the Leased Premises were in on the Commencement
Date, normal wear aid tear, damages caused by casualty (except to the extent that Tenant is
Obligated to restore such damage in accordance with the terms of this Agreement) and approved
alterations excepted. The rental payable during the hold over period shall be payable to Landlord,
on demand. No holding over by Tenant, whether with or without consent of Landlord, shall
operate to extend this Agreement
23.    Default by Tenant.
The following events shall be deemed to be an "event of default" by Tenant under the terms of
this Agreement

       (a)    Tenant shall fail to pay any installment of the Minimum Rent, Additional Rent or
              any other monetary payment required under this Agreement to be paid to or on
              behalf of Landlord or any other person or entity hereby reserved when due, and
              such Bern shall continue for a period of five (5) days or;
       (b)    Tenant or any Guarantor shall become insolvent, or shall make a transfer in fraud
              of creditors or;

       (c)    Tenant or any Guarantor shall file a petition under any section or chapter of the
              United States Bankruptcy Act, as amended, or under any similar law or statute of
              the United States or any State thereof; or Tenant shall be adjudged bankrupt or
              insolvent in proceedings filed against Tenant thereunder or;

       (d)    A receiver or trustee shall be appointed for all or substantially all of the assets of
              Tenant or any Guarantor;
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          (e)   Tenant shall desert or vacate any substantial portion of the Leased Premises or
                permit a lien (including, but not limited to, a construction lien or a material men's
                lien) to be filed or recorded against such Leased Premises, which lien shall not
                have been bonded or removed or canceled within the time herein specified or,
          (f)   Tenant shall fail to cure any monetary default within ten (10) days after written
                notice thereof to Tenant, or fail to cure any non-monetary default within thirty
                (30) days after written notice thereof to Tenant; provided, however, that Landlord
                shall not be required to provide Tenant with more than two (2) default notices
                during any consecutive twelve (12) month period and provided farther than
                during the final twelve (12) months of the Term, Landlord shall be required to
                provide.Tenant with more than one (1) default notice.
24.       Remedies for Thaant's Default.
Upon the occurrence of any of the events of default set forth herein, and following any
applicable notice, Landlord shall have the option to pursue any one or more of the following
remedies:
          (a)   Terminate this Agreement, in which event Tenant shall immediately surrender the
                Leased Premises to Landlord in a condition at least as good as the condition the
                Leased Premises were in on the Commencement Date, normal wear and tear,
                damages caused by casualty (except to the extent that lknant is obligated to
                restore such damage in accordance with the terms of this Agreement) and
                approved alterations excepted, and if Tenant fails to do so, Landlord may, without
                prejudice to any other remedy which it may have for possession or arrearages in
                rent, enter upon and take possession of the Leased Premises and expel or remove
                Tenant and any other person who may be occupying such Leased Premises or any
                part them& by force if necessary, without being liable for prosecution of any
                claim of damages therefor. Landlord may sell or relet the Leased Premises and
                the amount Landlord receives (less any and all costs Landlord incurs in such
                disposition, including, but not limited to, reasonable overhead, employee and
                officer compensation, lease commissions and any costs of improvements to the
                Leased Premises) shall be considered a mitigation of the damages of Landlord
                hereunder;
         (b)    Enter upon and take possession of the Leased Premises and expel or remove
                Tenant and any other person who may be occupying such Leased Premises or any
                part thereof, by force if necessary, without being liable for prosecution or any
                claim for damages therefo4 and relet the Leased Premises and receive the rent
                therefor;.and Tenant agrees to pay to the Landlord on demand any deficiency that
                may arise by reason of such reletting and all expenses of reletting as it accrues
                (the "Accrued Deficiencies"). The amount Landlord receives (less any and all
                costs Landlord incurs in such reletting, including, but not limited to, lease
                commissions and any cost of improvements to the Premises) shall be considered a
                mitigation of the damages of Landlord hereunder. In the event that Timant shall



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                 fail to pay to Landlord any portion of the Accrued Deficiencies within ten (10)
                 days of Landlord's demand (provided, however, Landlord shall not be required to
                 provide such demand more than two (2) occasions during any twelve (12) month
                 period during the term of this Agreement), Landlord may elect to receive as
                 damages the sum of (a) all amounts accrued through the date of the termination of
                 Ihnant's possessory rights, and (b) an amount equal to the total Minimum Rent
                 that Tenant would have been required to pay for the remainder of the then-current
                 term of this Agreement (excluding unexercised renewal options) discounted to
                 present value at the Treasury yield closest approximating the time remaining in
                 the balance of the term of this Agreement, minus the then present fair rental value
                 of the Leased Premises for the remainder of such term, similarly discounted, after
                 deducting all anticipated costs of Setting. Upon payment of such damages, this
                 Agreement shall terminate;
          (c)    Enter upon the Leased Premises without being liable for prosecution or any claim
                 for damages thereof, and do whatever Tenant is obligated to do under the terms of
                 this Agreement; and Tenant agrees to reimburse Landlord on demand for any
                 expenses which Landlord may incur in thus effecting compliince with Tenant's
                 obligations under this Agreement, and Tenant Rather agrees that Landlord shall
                 not be liable for any damages resulting to the Tenant from such action, whether
                 caused by the negligence of Landlord or otherwise; and/or;
                Immediately same the Leased Premises to protect the Landlord's interests. It is
                expressly understood that this action shall not terminate this Agreement and
                Tenant shall have the right to possession of the Leased Premises once the event(s)
                of default are cured to the satisfaction of Landlord. Tenant further agrees that
                Landlord shall not be liable Sr any damages to Tenant resulting from Landlord's
                action.
          (e)    Pursuit of any of the foregoing remedies shall not preclude' pursuit of any of the
                 other remedies herein provided or any other remedies provided by law, nor shall
                 pursuit of any remedy herein provided constitute a Oxfam or waiver of any rent
                 due to Landlord hereunder or of any damages accruing to Landlord by reason of
                 the violation of any of the terms, provisions and covenants herein contained. No
                 waiver by Landlord of any violation or breach of any of the terms, provisions and
                 covenants herein contained shall be deemed or construed to constitute a waiver of
                 any other violation or breach of any of the tarns, provisions and covenants herein
                 contained. Landlord's acceptance of the payment of rental or other payments
                 hereunder after the occurrence of an event of default shall not be construed as a
                 waiver of such default, unless Landlord so notifies 'Relent in writing.
                 Forbearance by Landlord to enforce one or more of the remedies herein provided
                 upon an event of default shall not be deemed or construed.to constitute a waiver
                 of such death. If on account of any breach or defituk by lama in Tenses
                .obligations under the terms and conditions of this Agreement, it shall become
                 necessary or appropriate for Landlord to employ or consult with an attorney




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               concerning or to enforce or defend any of Landlord's rights or remedies
               hereunder, Tenant agrees to pay reasonable attorneys' fee& No act or thing done
               by the Landlord or its agents during the term hereby granted shall be deemed an
               acceptance of the surrender of the Leased Premises, and no agreement to accept a
               surrender of said Leased Premises shall be valid unless in writing signed by
               Landlord. The receipt by Landlord of rent with knowledge of the breach of any
               covenant or other provision contained in this Agreement shall not be deemed or
               construed to constitute a waiver of any other violation or breach of any of the
               terms, provisions and covenants contained herein.
         (f)   Notwithstanding anything herein to the contrary, Landlord shall have a duty to
               mitigate its damages.
25.      Landlord'i Default.
If Landlord should fail to perform as required under this Agreement, Tenant shall give Landlord
written notice of the alleged default and Landlord shall have'thirty (30) days to cure the default;
provided, if a cure of a non monetary default cannot be completed with said 30-day period
Landlord shall not be deemed in default so long as Landlord promptly commences and diligently
pursues such cure within said 30-day period. If the default does not inhibit Tenant from
immediately operating its business and Landlord fails to cure the default within thirty (30) days,
Landlord shall have the right to extend the cure period if Landlord is diligently attempting to
cure the default No defkult that dots not substantially inhibit Tenant's right and ability to
operate its business shall be grounds for the termination of this Agreement. Tenant shall have all
remedies available at law and equity, together.•with those expressly provided herein, together
with the right to cure such default and offset the cost of such cure against Minimum Rent Upon
Landlord's default in its obligation to pay (or credit) money, said amount shall bear interest
beginning five (5) days after the date due at the rate per annum of twelve percent (12%).
26.      Force Majetrre.
Whenever a period of time is herein prescribed for action to be taken by either party to this
Agreement, the party charged with such obligation shall not be liable or responsible for, and
there shall be excluded from the computation for any such period of time, any delays due to
straws, riots, acts of God, shortages of labor materials, war, terrorist acts, governmental laws,
regulations, or restrictions,' or any other causes of any kind whatsoever which are beyond the
control of such party (collectively, "Force Mi4euren). Force- Matieure shall not save to extend
any payment obligations of Tenant hereunder.
27.      Interest on Amounts Owed.
In addition to the Late Fee, and not in lieu thereof; all amounts owed by Tenant under this
Agmement not paid when due shall accrue interest at one and one-half percent (l %) per
month, or the highest rate allowed by law, whichever is lower.




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 28.       Attorney's Fees.
 In the event either party hereto defitults in the performance of any of the terms, covenants,
 agreements or conditions contained in this Agreement, and the other party places the
 enforcement of all or any part of this Agreement, the collection of any rent due or to become due
 or recovery of the possession of the Leased Premises in the hands of an attorney, such defaulting
 party agrees to pay the other party's reasonable attorneys' fees for the services of such attorneys,
 whether suit is actually filed or not

29.        Estoppel Certificate.
Upon taking occupancy. and from time to time es requested by either party, the other party shall,
upon ten (10) days' notice, issue its estoppel letter certifying any matters reasonably requested
by the other party and that there ere no known defaults by either party or, if there are defisults,
specifying the defaults and the action necessary to cure. In the event Tenant has filed bankruptcy
or other debtor protection proceeding and while such proceeding is pending, Tenant hereby
appoints Landlord its attorney-in-fact during such period to execute and deliver an estoppel in
favor of Landlord's, lender, which appointment constitutes a power coupled with an interest,
irrevocable during the term of this Agreement.
30.        Offset Statement, Subordination and Atternment
          (a)     Within ten (10) days after request therefor by Landlord, or in the event that upon
                 any sale, assignment or hypothecation of the Leased Promises by Landlord an
                 offset statement (aAda an estoppel certificate) shall be required from Tenant,
                 Tenant agrees to and shall deliver in recordable form a certificate or estoppel to
                 any proposed mortgagee or purchaser or to Landlord, certifying (if such be the
                 case) that this Agreement is in full force and effect and that there are no defenses
                 or of pets thereto, or stating this claimed by Tenant In the event lbnant has
                 filed bankruptcy or other debtor protection proceeding and while such proceeding
                 is pending, Tenant hereby appoints Landlord its attorney-in-fact during such
                 period to execute and deliver such statement in favor of Landlord's lender, which
                 appointment constitutes a power coupled with an interest, irrevocable during the
                 term of this Agreement.

          (b)    Within ten (10) days after request therefore by Landlord, Tenant agrees to and
                 shall execute a reasonable subordination, non-disturbance and attomment
                 agreement fl NDA'% which shall contain a provision that, in the event any
                 proceedings are brought for the foreclosure of, or in the event of exercise of the
                 power of sale under any mortgage made by Lancllord covering the Leased
                 Premises, tenant shall attorn to the purchaser upon any such foreclosure or sale
                 and recognize such purchaser as Landlord under this Agreement The SNDA shall
                 contain Landlord's lender's standard non-disturbance language and any other
                 reasonable terms required by such lender or any purchaser of the Leased Premises
                 or• such purchaser's lender. Any SNDA shall be subject to Meant's reasonable
                 comments and shall acknowledge Tenant's rights under this Agreement (including



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                Tenant's offset rights herein) as long as 'Tenant is not in default Until the
                execution of the SNDA, any such mortgage shall remain subordinate to this
                Agreement

31.      Successors.

This Agreement shall be binding and inure to the benefit of Landlord and Tenant and their
respective heirs, personal representatives, successors, subtenants and assigns. It is hereby
covenanted and agreed that should Landlord's interest in the Leased Premises cease to Sat for
any reason during the terms of the Agreement, then (subject to the terms of the SNDA in the
event of a foreclosure), this Agreement nevertheless shall remain unimpaired and in Nil force
and effect and Tenant hereunder agrees to attom to the then owner of the Leased Premises.

32.      Notice.

         (a)    All payments required to be made by Tenant to Landlord shall be payable to
                Landlord at the address set forth below, or at any other address within the United
                States as Landlord may specify from time to time by written notice. All payments
                of any kind, including without limitation Minimum Rent, Additional Rent, late
                charges and any other amounts, must be received by Landlord at such address on
                or before the time specified for payment of such amounts.

        (b)     Any notice or document required.or permitted to be delivered by this Agreement
                shall be deemed to be delivered when deposited in the United States Mail, postage
                prepaid, certified mail, return receipt requested, overnight courier,, or when sent
                by facsimile, provided delivery is mechanically confirmed, addressed to the
                parties at the respettive addresses set forth below and actually received at such
                addresses.


Landlord:                                             Tomah

599 Highland Colony Parkway, Suite 120•               Virginia College, LLC
Ridgcland, Mississippi 39157                          3660 Ormdview Parkway, Suite 300
ATTN: Messrs. J. Wilson La Foe & J. F. Davis          Bkmingham, Alabama 35243
E-mail:blikanalmn                                     AWE General Counsel's Office-Roger
       iiiitika@e22121a                               Swartzwelder and Bat DeGwedc
FAX: (601) 605-0648                                   FAX: (205) 329-7857

With copy to:                                         With copy to:

Jon A. Gottlieb, Esquhz                               Stephen W. Steficup, Esq.
FLYNN & GOTTLIEB, PA-                                 Maynard, Cooper & Gale, P.C.
800 Johnson Ferry Road, N.E.                          1901 Sixth Avenue North
Atlanta, Georgia 30342-1417                           2400 Regions/Harbert Plaza
E-maib beatnik                                        Birmingham, AL 35203



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FAX: (404) 845-0888                                   FAX: (205) 254-1999


33.       Interpretation and Venue.
This Agreement shall be construed under and governed by the laws of the state in which the
Leased Premises are located. All headings preceding the text of the several provisions are
inserted solely for convenience of reference and none of them shall constitute a part of this
Agreement or affect its meaning, interpretation or effect. Venue for any action brought by
Landlord and Tenant in relation to this Agreement shall be in the County and judicial district or
division in which the Leased Premises are located.
34.       Reports.
Tenant covenants and agrees to turn over to Landlord upon request all plans, specificadons,
engineering drawings, surveys, information, inspections, tests, audits, studies, reports, title
commitments and materials compiled or accumulated by Tenant in connection with the Leased
Premises. This Covenant shall survive the termination of this Agreement.
35.       Lease Guaranty.
Education Corporation of America, a Delaware corporation (the Tganmft"), for value received
and in consideration of and as an inducement to Landlord entering into this Agreement with
Tenant, said inducement hereby acknowledged by Tenant, hereby absolutely and unconditionally
guarantees the timely satisfaction by said Tenant of all payment and performance obligations
under this Agreement as fidly as if the Guarantor was directly liable as Tenant hereunder. On or
before the Effective Date Guarantor shall execute Lease Guaranty attached hereto as Exhibit "E":
This is a guaranty of payment and performance and not a guaranty of collection. Nothing herein
shall require Landlord to pursue and exhaust its remedies and Tenant or the Leased Premises as a
condition to exercising its remedies against Guarantor under this Section 35.
36.      Waiver.
The waiver by Landlord of any breach of any team, covenant or condition herein contained shall
not be deemed to be a waiver of such term, covenant or condition. The subsequent acceptance of
rent hereunder by Landlord shall not be deemed to be a waiver of any preceding breach by
Tenant of any term, covenant or condition of this Agreement other than the failure by Tenant to
pay the particular rent ao accepted, regardless of Landlord's knowledge of such preceding breach
at the thee of acceptance of such rent No covenant, term or conditions of this Agreement shall
be deemed to hive been waived by Landlord, unless such waiver shall be in writing by Landlord.
37.      Accord and Satisfaction.     '
No payment by Tenant or receipt by Landlord of a lesser amount than the rent herein stipulated
shall be deemed to be other than on account of the earliest, stipulated rent; nor shall any
endorsement or statement on any check or any letter accompanying any check or payment as rent




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be decreed to be an accord and satisfaction, and Landlord may accept such check or payinent
without prejudice to Landlord's right to recover the balance of such rent or pursue any other
remedy in this Agreement provided.
38.        Entire Agreement; Constriction.
          (a)    This Agreement and the exhibits and addenda, if any, attached hereto and forming
                 a part hereof; set forth all the covenants, promises, agreements, conditions and
                 understandings between Landlord and Tenant concerning the Leased Premises,
                 and there are no covenants, promises, agreements, conditions or understandings,
                 either oral or written, between them other than as are herein set forth. Except as
                 herein otherwise provided, no subsequent alteration, amendment, change or
                 addition to. this Agreement shall be binding upon Landlord or Ibnant unless
                 reduced to writing and signed by thein.

          (b)    Each of the parties hereto materially participated in the drafting of this Agreement
                 err!, therefore, in the construction of any of the provisions hereog such provisions
                 shall not be construed more harshly against one or the other.
39.       No Partnership.
Landlord does not, in any way or for any purpose, become a partner of Tenant in the conduct of
its business, or otherwise, or a joint venturer or a member of a joint enterprise with Tenant.
Provisions of this Agreement relating to the Additional Rent payable hereunder are included
solely for the purpose of providing a method whereby the rent is to be measured and ascertained.
40.       Captions and Section Numbers.
The captions and section ntnnbers appearing in this Agreement are inserted only as a matter of
convenience and in no way affect this Agreement
41.       Broker's Commission.
Each of the parties represents and warrants that there are no claims for brokerage commissions or
finder's fees in connection with the execution of this Agreement and each of the parties agrees to
indemnify the other against and hold it harmless fiom all liabilities arising from any such claim
(mcluding, without limitation the cost of counsel flees in connection therewith):
42. . Partial Invalidity.
If any term, covenant or condition of this Agreement or the application thereof to any person or
circumstances shall, to any extent, be invalid or unenforceable, the remainder of this Agreement,
or the application of such term, covenant or condition to persons or circumstances other than
those to which it is held invalid or unenforceable, shall not be affected thereby and each term,
covenant or condition of this Agreement shall be valid and be enforced to the West extent
permitted by law.




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43.       No Option.
The submission of this Agreement for examination does not constitute a reservation of or option
for the Leased Premises, and this Agreement becomes effective as a lease only upon execution
and delivery thereof by Landlord and Tenant
44.       Recording.
          (a)   Tenant shall not record this Agreement without the written consent of Landlord;
                however. upon the request of either party hereto the other party shell join in the
                execution of a memorandum or so-called "short form" of this Agreement for the
                purpose of recordation. Said memorandum or short form of this Agreement shall
                describe the parties, the Leased Premises and the term of this Agreement and shall
                incorporate this Agreement by reference.

          (b)   Landlord shall have the right to record this Agreement and, at the request of
                Landlord, Tenant agrees to execute the necessary acknowledgments required to
                record this Agreement, in either short form or long form.
         (c)    The party requesting recordation shall be responsible for all costs thereof
45.       Financial Information.
Upon written request from Landlord to Tenant, not more often than once in every twelve (12)
month period, Tenant will furnish Landlord with audited financial statements and current
financial statements for Tenant and Guarantor not later than fourteen (14) days following such
request. The failure to fully satisfy Landlord's request shall not bar another request for the
balance of such statements prior to the expiration of said 12-month period. Such statements of
financial condition shall include balance sheets, profit and loss statements -and any related
footnotes.
46.      'Waiver of Jury.Trbl and Counterclaims.
THE PARTIES HERETO SHALL, AND THEY HEREBY DO. WAIVE TRIAL BY JURY IN
ANY ACTION, PROCEEDING OR COUNTERCLAIM BROUGHT BY MTHER OF THE
PARTIES HEREBY AGAINST THE OTHER ON ANY MATTERS WHATSOEVER
ARISING OUT OF OR IN ANY WAY . CONNECTED WITH THIS AGREEMENT, THE
RELATIONSHIP WITH- LANDLORD AND TENANT, TENANTS USE OR OCCUPANCY
OF THE LEASED PREMISES, ANDIOR ANY CLAIM OF INJURY OR DAMAGE. IN THE
EVENT LANDLORD COMMENCES ANY PROCEEDINGS FOR NON-PAYMENT OF
MINIMUM RENT OR ADDITIONAL RENT, TI3NANT WILL NOT INTERPOSE, ANY
COUNTERCLAIM OF WHATEVER NATURE OR DESCRIPTION IN ANY SUCH
PROCEEDINGS. THIS SHALL NOT, HOWEVER, BE CONSTRUED AS A WAIVER OF
TENANTS RIGHT TO ASSERT SUCH CLAIMS IN ANY SEPARATE ACTION OR
ACTIONS BROUGHT BY TENANT.




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 47.      Counterpart Execution.
 This Agreement may be executed in several counterparts, each of which shall be deemed an
 original and all of which counterparts together shall constitute one and the same instrument.
48.       Merger.
This Agreement contains the entire agreerent between the parties with respect to the subject
matter of the Agreement and supersedes all prior agreements and understandings, both oral and
written, between the parties with respect to the subject matter of the Agreement.
49.      Severebility.        -
If any one or more of the provisions or parts of a provision contained herein shall, for any reason,
be held to be invalid, illegal or unenforceable in any respect in any jurisdiction, such
determination of invalidity, illegality, or unenforceabilky shall not affect any other provision or
part of a provision, but this Agreement shall be reformed and construed as if such invalid, illegal
or unenforceable provision or part of a provision had never been contained herein, and such
provision or part shall be refoimed so that it would be valid, legal and enforceable to the
maximum extent permitted in such jurisdiction.
IN WITNESS WHEREOF, the parties herein have hereunto set their hands on the date indicated
below their signatures.




                                                             Dated:   ..SZ Z// ef


                                                             Dated     ',VA! /1( I

Tenant :

VIRGINIA C            .GE, LLC

By:
        Its:
                          11"rFo
                    AF / 21                                  Dated:     340          6




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                                EXHIBIT."A"
                                  TRACT 1

ALL THAT TRACT OR PARCEL OF LAND LYING IN LAND LOTS 156 & 157, 4TH LAND
DISTRICT, MACON, BIBB COUNTY, GEORGIA AND BEING MORE PARTICULARLY
DESCRIBED AS FOLLOWS:
TO FIND THE POINT OF BEGINNING, COMMENCE AT A 1/2" REBAR AND CAP SET
AT THE INTERSECTION OF THE SOUTHERLY RIGHT-OF-WAY LINE OF
EISENHOWER PARKWAY (U.S. 80 250' R/W) AND THE WESTERLY RIGHT-OF-WAY
LINE OF HERON ST (60' R/W) SAID POINT BEING THE POINT OF REFERENCE;
THENCE N85°17'26"W A DISTANCE OF 546.34" ALONG SAID RIGHT OF WAY OF
EISENHOWER PARKWAY TO A 1/2" REBAR FOUND; THENCE LEAVING SAID RIGHT-
OF-WAY S01°30.51"W A DISTANCE OF 55.08' TO A 1/2" REBAR AND CAP SET AND
THE POINT OF BEGINNING; THENCE FROM SAID POINT OF BEGINNING WITH A
CURVE TURNING TO THE RIGHT WITH AN ARC LENGTH OF 117.80', WITH A
RADIUS OF 181.00', WITH A CHORD BEARING OF S66°10'28"E, WITH A CHORD
LENGTH OF 115.73' TO A 1/2" REBAR AND CAP SET; THENCE S47°31'46"E A
DISTANCE OF 236.47' TO A 1/2" REBAR AND CAP SET; THENCE WITH A CURVE
TURNING TO THE LEFT WITH AN ARC LENGTH OF 172.37', WITH A RADIUS OF
240.00', WITH A CHORD BEARING OF S68°06'16"E, WITH A CHORD LENGTH OF
168.69' TO A 1t2" REBAR AND CAP SET; THENCE 588°40'44"E A DISTANCE OF 381.85'
TO A 1/2" REBAR AND CAP SET; THENCE N01°19'16"E A DISTANCE OF 55.00' TO A
1/2" REBAR AND CAP SET; THENCE 588°40'44"E A DISTANCE OF 153.98' TO A 1/2"
REBAR AND CAP SET; THENCE S01°09'32"W A DISTANCE OF 799.10' TO A POINT;
THENCE N88°56'13"W A DISTANCE OF 984.41' TO A 1/2" REBAR. FOUND; THENCE
N01°30'51"E A DISTANCE OF 381.02' TO. A 1/2" REBAR AND CAP SET; THENCE
N01°30'51"E A DISTANCE OF 626.70' TO A 1/2" REBAR AND CAP SET; SAID POINT
BEING THE POINT OF BEGINNING. SAID TRACT OF LAND CONTAINS 18.25 ACRES
MORE.OR LESS AND BEING MORE PARTICULARLY DESCRIBED ON THAT CERTAIN
ALTA/ACSM SURVEY PREPARED FOR VC MACON,GA, LLC, A MISSISSIPPI LIMITED
LIABILITY COMPANY, BANKPLUS, A MISSISSIPPI BANK, AND FIRST AMERICAN
TITLE INSURANCE COMPANY, DATED APRIL 1, 2010 BY DAVID G. BENNETT,
GEORGIA REGISTERED LAND SURVEYOR NO. 3122 ON BEHALF OF DONALDSON,
GARRETT & ASSOCIATES, INC.
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                                            EXHIBIT "B"

                               COMMENCEMENT DATE ADDENDUM


 THE COMMENCEMENT DATE ADDENDUM (this "Addendum") is made and entered into
 on                               2010 and between VC Macon, OA, LLC, a hfississippi limited
 liability company, or its successors and assigns ("jam') and Virginia College, LLC, an
 Alabama limited liability company ("Tiniit") pursuant to that certain Lease Agreement (the
 "a"), dated •                        , 2010, between Landlord and Tenant.

Landlord and Tenant have executed the Lease, and the Leine contemplates that Landlord and
Tenant will execute this Addendum upon the delivery of the Leased Premises to Tenant for
Tenant's exclusive possession in as "as-is, where-is" basis and that the term of the Lease shall
commence on the Commencement Date (as defined in the Lease). Landlord and Tenant now
desire to .stipulate and sigree (0 to the Delivery Date (as defined in the Lease), (ii) to the
Commencement Date (as defined in the Lease), (i0 to the termination date of the term of the
Lease and (iv) that Tenant accepts the Leased Premises in its condition on the Delivery Date in
an "as-is, when-is" basis, subject to and upon conditions of the Lease.

Now, therefore, Landlonl and Tenant stipulate and agree as Mows:

1.        The Delivery Date, es defined in the Lease, is                           20_.

2.         The Commencement Date, 'as defined in the Lease, is                      , 20_, and the
           term of the Lease shall terminate                                                unless
         . extended by Tenant by electing its option to renew and extend the Lease Term.

3.        Tenant accepts the Leased Premises in its "as-is, where-is" on the Delivery. Date, subject
          to and upon the conditions of the Lass.

4.        This Addendum may be executed in several counterparts, each of which shall be deemed
          an original and all of which counterparts together shall constitute one and the same
          instrument.

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        IN WITNESS WHEREOF, Lamfiord and Tenant have executed this Addendum on the
date first written above.

LANDLORD:

VC MACON, GA, LLC

By:                                               Date&
         J. Wilson La Foe, its


By:                                               Dated:
         J. F. Davis, its

TENANT:

VIRGINIA COLLEGE, LW

Br•                                               Dated:
      • Its:




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                                       EXHIBIT "C"

                              SCHEDULE OF COVENANTS


That certain Declaration of Easements and Restrictive Covenants, dated March 18, 1998,
executed by WHF, Inc.. and recorded in Deed Book 4137, Page 172, of the Bibb County Cleric's
Office; as amended by that certain First Amendment to Declaration of Basements and Restrictive
Covenants, dated March 24, 1998, by WHF, Inc., and recorded in Deed Book 4140, Page 305 of
the Bibb County Cleric's Office; as fbrther amended by that certain Second Amendment to
Declaration of Easements and Restrictive Covenants, dated October 26, 1999, by JDN Realty
Corporation, and recorded in Deed Book 4594, Page 227, in the Bibb County Clerk's Office.




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                                          EXHIBIT "D"

                              APPLICABLE USE RESTRICTIONS



               1. Commute

               2. School Lease
               3. Applicable zoning ordinances.




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                                           EXHDIFT
                                      LEASE GUARANTY
       In consideration of the execution and delivery of that certain Lease Agreement dated of
even date herewith (hereinafter referred to as the "..ease") madic by VC MACON, GA, LLC, a
Mississippi limited liability company, as Landlord, and VIRGINIA COLLEGE. LLC as Tenant
(being a wholly owned subsidiary of Guarantor) to induce Landlord to enter into the Lease (it
being acknowledged and agreed that without Guatantor's guaranty, Landlord would not have
entered into the Lease with Tenant), the undersigned EDUCATION CORPORATION OF
AMERICA, a Delaware corporation (hereinafter referred to as `         mater"), having offices at
3660 Gnmdview Parkway, Suite 300, Birmingham, Alabama 35243, its successors and assigns,
hereby guarantees to the Landlord, its successors and assigns, the payment of the rent reserved in
the Lease and the performance by the Tenant of all the terms and provisions therein contained
and any subsequent modifications thereto made with or without Guarantor's consent.
       Provided due and proper notice or demand is given the. Tenant, Guarantor hereby
expressly waives notice of all defaults and agrees that the waiver of any rights by the Landlord
against the Tenant, arising out of defaults by the Tenant or otherwise, shall not in any way
modify or release the obligations of Guarantor. •
        This guaranty is and shall be construed as an absolute, continuing and unlimited
guarantee of payment and performance commencing on the date hereof and throughout the entire
term of the Lease and any other time Tenant has possession of the premises demised under the
Lease, without regard to the regularity, validity or enforceability of any liability or obligation of
the Tenant hereby guaranteed; and the Landlord shall not be required to proceed first against the
Tenant or any other person or entity or against any collateral security held by Landlord before
resorting to the undersigned for payment and performance.
       The undersigned hereby waives:
            a. Notice of the acceptance of this Guaranty;
            b. Notice of any event of default under the Lease;
            c. Opportunity to cure any event of default;
            d. Proof of notice or demand to Tenant relating to any event of default to the extent
               notice is actually provided to Tenant.
       The obligations of the undersigned under this Guaranty shall not be terminated, affected,
or impaired in any manner by:
       a)      Any changes!, modifications, or amendments to the Lease;
      b)     Any extension or renewal of the term of the Lease, or expansion of the Leased
Premises; or
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      Landlord's waiver of any terms, covenants, conditions, or agieements of the Lease, all of
which may be done without notice to, or the consent of the undersigned. .
  •     The obligations of the undersigned under this Guaranty shall not be terminated, affected,
 or impaired hinny manner by reason of;
•
        a)      The assertion. by . Landlord against Tenant of any of the rights or remedies
 available to Landlord under the Lease;
        b)      The release or discharge of Tenant from any of Tenant's obligations under the
Lease by operation of any bankruptcy, insolvency, or similar law or the actual or purported
rejection of the Lease by a trustee in bankruptcy on behalf of Tenant;
       a)      The failure of Landlord to exhaust or pursue any . of its rights or remedies
available against Tenant or any other guarantor; •
        d)     The granting by Landlord of any indulgence; or extensions of time to Tenant;
        e)      Any subletting of all or any part of the Leased Premises or any assignment or
other transfer of the Lease;
        f)     • Landlord's release or discharge of any other guarantor; or
        g)     Landlord's receipt, application, release, or impairment of any security or
collateral given to secure the perfbrmanoe and observance of the terms and covenants of the
Lease.
       The undersigned subordinates 'any liability or indebtedness of Tenant. now or hereafter
held by the undersigned to the obligations of Tenant to the Landlord under the Lease.  •
       If Landlord takes any action or participates in any proceeding to enforce the Lease or this
Guaranty, or to protect Landlord's rights • hereunder or thereunder after the occurrence of en
event .of delimit (icluding, . but • not limited to, bankruptcy, appellate, and post-judgment
proceedings), the underilgned shall Pay to •Landlord all costs and exposures, including reasonable
attorneys' fees, incurred or expended by Landlord in connection therewith.
        The benefits Of this Guaranty shall inure to the successors and assigns of Landlord and
"hall be binding upon the successors; assigns, and legal and personal representatives of the
undersigned. For purpose's of this Guaranty; the word "Tenant" shall also include the successors
and assigns of Tenant. . This paragraph shall not affect the restrictions relating to assignment" and
subletting by Tenant as set out in the Lease. •                                  . . .•
  .     This Guaranty shall be governed by and construed in accordance with the laws of the.
state in which the Leased Premises are locsted, without reference to any principles of conflict of
laws. Venue for all &diens or proceedings relating to or arising out. of this Guaranty shall be in
the County in which the Leased Premises are located.
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      This Guaranty may not be amended, modified, discharged, or terminated orally or in any
manner other than by an agreement in writing signed by Landlord.

       Guarantor hereby represents and warrants that :di financial statements submitted by
Guarantor to Landlord in connection with the Lease are tine and correct in all respects, and fairly
present the financial condition of Guarantor.

                                               GUARANTOR:

                                               Entic.griott CORPORATION OF AMRRICA

              3/4     /0                       By:                 411--
                                               Print Name:          „eec6-&e AtiiezFA
                                               Print Title:


STATE OF                             )
COUNTY OF                            )
        I, the undersigned authority, a Notary Public in and for said County in said State, hereby
certify that ito Q           •j                      whose name as a F
of Education Corporation of America, a Delaware corporation, is signed to the foregoing
instrument, and who is known to me, acknowledged before me on this day that, being informed
of the contents of said instrument, he/she., as such officer and with full authority, executed the
same voluntarily for and as the act of said corporation.
       Given under my hand and official seal, this /   ei".)   clay of thu.e.A.1       2010.




AFFDC SEAL




                                                                                  •
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                   EXHIBIT C




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                                DL Invest:men LLC
                              599HigMendColonyParkielos Sadie120
                                      Ridgehret4 MS19157
                                  (604 61164658 Paz(01) 6954618


 August 13, 2018

Attn: General Counsel's Office
Roger Swartzwelder
Ben Degweck            •
Virginia College, LLC •
3660 Grandview Parkway, Suite 300
BirMinglians441;332143                                          .• Ignfac (105-219: 78,7}

RE:      Lease hr Virginia College at 1901 Paul Walsh Dries Macon GA

Dear Mr. Swertzwelder,:
                                                                           .       .
I aim writing you pursuant to the terms and conditions of the lease agreement (the "Lease Agreement") by
an between        liffacon, GA, LW (hezi.enacerjanct VitglninColtegei.WIthelleameer3 fiitthe
school at the above referenced loCation:       '                       . .

Lessor heiebynotifles Lessee that payment for the rent due August 1, 2018 hail not been received and a
late fee of 84,130.04 has been asemised the Lessee. In additioa.last month's late fee plus interest has not
been paid. 'total amount currently due is $90,92182. - •

       141111Aireated izerneffilly       Jain& Mite ahem 'Maims&awastraiehydaid* JOan*
• efreerioefthis viadertikenthe Lesieratellistere the-option m pursue-any one or more of the remedies
  available to Lessor without any ,further notice or demand whatsoever. Concurrently, Lessor shall pursue
 all available remedies against the Guarantors, both joindY and severally, for Sill and complete satiefacdon
  of* payments due under the Lease Agreement.




:CC      Stephen W StallouP, Esq.
         Maynard Cooper & Gale, P.C.
         1901 Sixth Avenue North
        .2400 Ragicas/Harbert Plaza
         Binigingham, AL 35203 ,
         FAX: 205-254-1999
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                    EXHIBIT D




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 From: Rhine, Zvi rmallto:2Rhluetthilcoglobal.corni
 Senb Thursday, September 06, 2018 3:06 PM
 To: Jeff Davis
 Subject: RE: Education Corp of America

 Jeff, as we discussed, Hilco Global has been hired as ECA's (the parent company of Virginia College, Brightwood, etc)
 restructuring advisors to achieve an out-of-court solution. Given the company's current liquidity, finding a capital provider is
 imperative to the Company's ability to continue as an ongoing concern. Our task is to terminate 25+ locations that will eliminate
 enough liability/operating losses to trigger two separate $1.5mm capital injections. To summarize the proposal, the potential
 capital provider/company wish to terminate the Macon and Baton Rouge leases according to the following terms:

    1. Any back/unpaid rent thru August will be paid by the end of September (to coincide with an injection of capital into the
         company) — i understand this doesn't apply in this situation
    2. No rent will be paid for September •
    3. Full rent for Oct-Jan '19 (4 payments in total)
    4. A one-time lump sum payment of 5 months in Feb '19 for the Macon leases (to coindde with a secondary injection of
         capital into the company)
    5. A one-time lump sum payment of 6 months in Feb '19 for the Baton Rouge lease (to coincide with a secondary injection
       . of capital into the company)
    6. The Macon leases will terminate effective May 31, 2019
    7. The Baton.Rouge lease will terminate effective June 30, 2019

These terms should allow the company to fulfill its teach out obligation and allow the students to finish the existing term as
required by the Department of Educatlon.for continued Title IV funding. Thereafter, continuing students will be offered a
transfer to an adjacent school or a refund. Our goal is to make significant progress over the next few weeks to achieve an out-of-
court restructuring and trigger the needed capital injection. Let me know if you have any questions. I'm available to discuss
further at your convenience.

Zvi Rhine


From: Rhine, Zvl
Sent: Wednesday, September 05, 2018 10:09 AM
To: ydavisedlinv.netl
Subject: Education Corp of America

Jeff, I represent Education Corp of America on the company's restructuring efforti. I've attached an authorization letter for your
review. I've.been trying to reach you but the phone number on file seems to be inaccurate. Please give me a call at your
convenience so we can discuss your affiliated sites. My contact Info is below. Thanks.

.Zvi Rhine




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            EXHIBIT 2
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                        STATE OF GEORGIA
                               Secretary of State
                                Corporations Division
                                   313 West Tower
                             2 Martin Luther King, Jr. Dr.
                             Atlanta, Georgia 30334-1530

Annual Registration                                                 *Electronically Filed*
                                                                    Secretary of State
                                                                    Filing Date: 08/14/2018 11:02:58

BUSINESS INFORMATION

BUSINESS NAME                 : VC MACON, GA, LLC
CONTROL NUMBER                : 10023544
BUSINESS TYPE                 : Foreign Limited Liability Company
JURISDICTION                  : Mississippi

BUSINESS INFORMATION CURRENTLY ON FILE
                              : 599 HIGHLAND COLONY PKWY. #120, Suite 120, Ridgeland, MS, 39157,
PRINCIPAL OFFICE ADDRESS
                              USA
REGISTERED AGENT NAME         : Jon A. Gottlieb
REGISTERED OFFICE ADDRESS     : 800 Johnson Ferry Road, Atlanta, GA, 30342, USA
REGISTERED OFFICE COUNTY      : Fulton

UPDATES TO ABOVE BUSINESS INFORMATION
                              : 599 HIGHLAND COLONY PKWY. #120, Suite 120, Ridgeland, MS, 39157,
PRINCIPAL OFFICE ADDRESS
                              USA
REGISTERED AGENT NAME         : Jon A. Gottlieb
REGISTERED OFFICE ADDRESS     : 800 Johnson Ferry Road, Atlanta, GA, 30342, USA
REGISTERED OFFICE COUNTY      : Fulton

AUTHORIZER INFORMATION

AUTHORIZER SIGNATURE          : J F DAVIS
AUTHORIZER TITLE              : Organizer
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            EXHIBIT 3
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F0108                             2018049640
                                                              Business ID: 960939
                                                          Filed: 02/13/2018 11:22 AM
Fee: $                                                     C. Delbert Hosemann, Jr.
                                                               Secretary of State

        P.O. BOX 136                                     TELEPHONE: (601) 359-1633
    JACKSON, MS 39205-0136

                              2018 LLC Annual Report
Business Information
 Business ID: 960939              Business Name: VC Macon, GA, LLC
 State of Incorporation: MS       Business Email: jfdavis@dlinv.net
 Phone: (***)***-****
 FEIN: **-*******

 Principal Address: 599 HIGHLAND COLONY PKWY, SUITE 120
                    RIDGELAND, MS 39157
Registered Agent
 Name: DL Investments, LLC
 Address: 599  Highland Colony Parkway, Suite 120
           Ridgeland, MS 39157
Managers and Members
Managers
 Name:                                     Address:
                                           599 HIGHLAND COLONY PARKWAY,
 J Wilson Lafoe
                                           SUITE 120
 Manager
                                           RIDGELAND, MS 39157

Members
 Name:                                     Address:
                                           599 HIGHLAND COLONY PKWY SUITE
 J Wilson Lafoe
                                           120
 Member
                                           RIDGELAND, MS 39157
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Officers
 Title/Name:                                Address:                     Director:
 President:

 Vice President:

 Secretary:

 Treasurer:

   This LLC has a written Operating Agreement.
NAICS Code/Nature of Business
 531120 - Lessors of Nonresidential Buildings (except Miniwarehouses)
Signature
By entering my name in the space provided, I certify that I am authorized to file this
document on behalf of this entity, have examined the document and, to the best of my
knowledge and belief, it is true, correct and complete as of this day 02/13/2018.
  Name:                           Address:
  J WILSON LAFOE                  599 HIGHLAND COLONY PKWY, SUITE 120
  Manager                         RIDGELAND, MS 39157
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Officers List
 Name:                                      Address:
                                            599 HIGHLAND COLONY PARKWAY,
 J Wilson Lafoe
                                            SUITE 120
 Manager
                                            RIDGELAND, MS 39157

                                            599 HIGHLAND COLONY PKWY SUITE
 J Wilson Lafoe
                                            120
 Member
                                            RIDGELAND, MS 39157
Case 5:18-cv-00388-TES Document 1-1 Filed 10/18/18 Page 98 of 101




            EXHIBIT 4
            Case JOHN
Voter Registration: 5:18-cv-00388-TES
                         WILSON LAFOE          Document 1-1 Filed 10/18/18 Page 99 of 101



                                              Voter Registration Record




Source Information                                           Voter History
 Information Current Through:            07/05/2016           Primary 2012
 Database Last Updated:                  03/29/2017           Special1 2012
 Update Frequency:                       ANNUAL               General 2012
 Current Date:                           10/17/2018           Primary 2011
                                                              Other 2011
                                                              General 2011
                                                              General 2010
Name and Personal Information                                 Last Date Voted:
 Name:                      JOHN WILSON LAFOE
 Address:
                            RIDGELAND, MS 39157              Demographic Information
 Mailing Address:
                            RIDGELAND, MS 39157               Political Party:



Registration Information
 Voter Identification Number:
 Registration Date:
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constitute a 'consumer report' as such term is defined in the Federal Fair Credit Reporting Act (FCRA), 15 U.S.C. sec.
1681 et seq. The data provided to you may not be used as a factor in consumer debt collection decisioning, establishing
a consumer's eligibility for credit, insurance, employment, government benefits, or housing, or for any other purpose
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authorized under the FCRA or in relation to taking an adverse action relating to a consumer application.


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           Case
Motor Vehicle:    5:18-cv-00388-TES
               JOHN W. LAFOE              Document 1-1 Filed 10/18/18 Page 100 of 101



                                            Motor Vehicle Record


Source Information

 Coverage Begin Date:                                 01/01/2001
 Information Current Through:                         09/17/2018
 Database Last Updated:                               10/01/2018
 Update Frequency:                                    2X MONTHLY
 Current Date:                                        10/17/2018
 Source:                                              STATE TAX COMMISSION, MOTOR VEHICLE
                                                      LICENSING BUREAU

Vehicle Information

 VIN:
 Vehicle Type:
 Model Year:
 Make:
 Body Style:
 Model/Series:
 Primary Color:

Registration Information

 License Plate Number:
 Issuing State:
 Plate Type:
 Previous Plate Number:
 Previous Plate State:                                MS
 Registration Renewal Date:                           06/07/2018
 Expiration Date:                                     06/30/2019
 Registrant(s) Since:                                 06/20/2017
 Name:                                                JOHN W. LAFOE
 Interest:                                            REGISTRANT
 Mailing Address:
                                                      RIDGELAND, MS 39157-9790
 County:                                              MADISON
 Registration Renewal Date:                           06/07/2018
 Expiration Date:                                     06/30/2019
 Registrant(s) Since:                                 06/20/2017
 Name:                                                JOHN W. LAFOE
 Interest:                                            LESSEE
 Mailing Address:
                                                      RIDGELAND, MS 39157-9790
 County:                                              MADISON

Title Information:

 Original Title Date:                                 06/17/2017
 Title Number:
 Name:
 Interest:
 Title Transaction Date:
 Mailing Address:
                                                      RIDGELAND, MS 39157-9790
 County:                                              MADISON
 Name:



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           Case
Motor Vehicle:    5:18-cv-00388-TES
               JOHN W. LAFOE                  Document 1-1 Filed 10/18/18 Page 101 of 101


Interest:
Title Transaction Date:
Mailing Address:
                                                             RIDGELAND, MS 39157-9790
County:                                                      MADISON

Historical DMV Record 1

Registration Renewal Date:                                   06/20/2017
Expiration Date:                                             06/30/2018
License Plate Number:
Issuing State:
Plate Type:
Name:                                                        JOHN W. LAFOE
Interest:
Mailing Address:
                                                             RIDGELAND, MS 39157-9790
County:                                                      MADISON
Registration Renewal Date:                                   06/20/2017
Expiration Date:                                             06/30/2018
Name:                                                        JOHN W. LAFOE
Interest:                                                    REGISTRANT
Mailing Address:
                                                                RIDGELAND, MS 39157-9790
County:                                                        MADISON
Title Transfer Date:                                           06/17/2017
Name:                                                          UNKNOWN LIENHOLDER
Interest:                                                      LIEN HOLDER
Mailing Address:                                               UNKNOWN
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1681 et seq. The data provided to you may not be used as a factor in consumer debt collection decisioning, establishing
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authorized under the FCRA. By accessing one of our services, you agree not to use the service or data for any purpose
authorized under the FCRA or in relation to taking an adverse action relating to a consumer application.


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